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                                       #: 514



   1                           UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF RHODE ISLAND
   2

   3

   4   STATE OF COLORADO, et al.,

   5               Plaintiffs,

   6         v.

   7   U.S. DEPARTMENT OF HEALTH AND HUMAN
       SERVICES, et al.,
   8
                   Defendants.
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                            DECLARATION OF DR. OLIVIA KASIRYE, M.D., M.S.
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   1                     DECLARATION OF DR. OLIVIA KASIRYE, M.D., M.S.

   2          I, Dr. Olivia Kasirye, M.D., M.S., declare as follows:

   3          1.     I am a resident of the State of California. I am over the age of 18 and have personal

   4 knowledge of all the facts stated herein, except to those matters stated upon information and

   5 belief; as to those matters, I believe them to be true. If called as a witness, I could and would

   6 testify competently to the matters set forth below.

   7          2.     I currently serve as the Public Health Officer for the County of Sacramento,

   8 California. I have held this position since February 2012. I received my Medical Degree from the

   9 Makerere University Medical School in Kampala, Uganda. I also have a Master of Science degree
  10 in Epidemiology from the University of California, Davis. I am Board Certified in Public Health

  11 and General Preventative Medicine.

  12          3.     Sacramento County Department of Health Services—Public Health (SCPH) works
  13 to promote and protect public health and safety by creating conditions for optimal well-being in

  14 the community. Through leadership, collaboration, prevention, and response, SCPH administers a

  15 broad range of programs to detect, prevent, and respond to infectious disease outbreaks, reduce

  16 chronic disease risks, and improve birth outcomes. During public health emergencies, SCPH

  17 issues and enforces health orders to protect residents. SCPH also provides vital services such as

  18 publishing educational materials, conducting workshops, offering nurse home visits, managing the

  19 local emergency medical services system, and hosting testing and vaccination clinics. These

  20 efforts help safeguard the well-being of all Sacramento County residents, particularly its most

  21 vulnerable populations.

  22          4.     SCPH recently received one (1) award termination from the U.S. Department of
  23 Health and Human Services, Centers for Disease Control and Prevention (CDC), as well as

  24 informal notice from the California Department of Public Health (CDPH) of an additional three

  25 (3) sub-recipient awards being terminated by CDC. As of March 28, 2025, the total value of the

  26 County of Sacramento’s known terminated awards is approximately $26.5 million dollars. All

  27 terminations were “for cause” based on the end of the COVID pandemic, rather than failure of

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   1 SCPH to follow the terms or conditions of the grants. Descriptions of each award and the effects

   2 of these terminations follow.

   3 SCPH’s CDC Grant (Award #6NH75OT000084-01):

   4          5.     In 2021, the US Department of Health and Human Services (“DHHS”) via the
   5 Centers of Disease Control and Prevention (“CDC”) solicited and invited applications for grants

   6 titled “National Initiative to Address COVID-19 Health Disparities Among Populations at High-

   7 Risk and Underserved, Including Racial and Ethnic Minority Populations and Rural

   8 Communities.” A true and correct copy of the CDC’s grant solicitation is attached as Exhibit A.

   9          6.     SCPH responded to the CDC’s solicitation with a grant application on May 3,

  10 2021. As set out in its grant proposal, SCPH intended to use the requested funds to address

  11 COVID-19 Health Disparities among high-risk and underserved populations with a specific focus

  12 on growing local internal infrastructure and organizational capacity for groups most impacted by

  13 COVID-19.

  14          7.     On May 28, 2021, Sacramento County was directly awarded $7,016,680 by CDC to

  15 address COVID-19 health disparities among high-risk and underserved populations. The grant was

  16 for an initial two-year term, from June 1, 2021 through May 31, 2023, and expanded in February

  17 2024 to a five-year term through May 31, 2026. True and correct copies of the SCPH’s CDC grant

  18 Award #6NH75OT000084-01 and extensions are attached as Exhibits B-J.

  19          8.     As set forth therein in Exhibit B (General Terms and Conditions), termination of

  20 the grant by CDC is permitted only if a recipient or subrecipient (1) fails to comply with the terms

  21 and conditions of a Federal award; (2) for cause; (3) with the consent of the non-Federal entity

  22 with agreed upon termination conditions; or (4) Upon request by the non-federal entity.

  23          9.     Since May 2021, SCPH has used the Award #6NH75OT000084-01 grant funds in a
  24 manner fully consistent with CDC’s statements regarding the nature of the grant and SCPH’s grant

  25 application.

  26          10.    In addition to SCPH’s internal use and creation of County staff response to

  27 complete its community health assessment, SCPH executed three (3) expenditure contracts with

  28 local public health entities. Two contracts established Community Wellness Hubs, which are

                                                       3
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   1 community-centered systems that connect County agencies, schools, libraries, hospitals and other

   2 essential partners to empower underserved populations to access information and care. The third

   3 contract implemented Sacramento County’s Public Health Community Health Improvement Plan

   4 (CHIP)—part of the national accreditation process for public health departments. Effective March

   5 2025, all contracts were active and services were being provided in the community—with

   6 $1,379,000 of services still outstanding and set to be performed throughout the Sacramento

   7 County community through June 2026.

   8          11.    On March 24, 2025, without any prior notice or indication, CDC informed

   9 Sacramento County that effective March 24, 2025 its Award #6NH75OT000084-01 was being
  10 terminated “for cause,” stating “The end of the pandemic provides cause to terminate COVID-

  11 related grants and cooperative agreements. These grants and cooperative agreements were issued

  12 for a limited purpose: to ameliorate the effects of the pandemic. Now that the pandemic is over,

  13 the grants and cooperative agreements are no longer necessary as their limited purpose has run

  14 out.” The termination notice set the final day of any invoiced expenditures to March 24, 2025—

  15 the same day that the letters were uploaded to the Federal grants portal. A true and correct copy of

  16 the March 24, 2025 Award #6NH75OT000084-01 Termination is attached as Exhibit K.

  17          12.    SCPH received CDC’s termination via the Grant Solutions platform on March 25,
  18 2025 at 4:14 AM Pacific Daylight Time (PDT). No appeal rights, administrative process, or

  19 response options were noted in CDC’s termination notification.

  20          13.    SCPH relied and acted upon its expectation and understanding that HHS and CDC
  21 would fulfill its commitment to provide Award # 6NH75OT000084-01 funding it had awarded to

  22 SCPH. Termination of Award #6NH75OT000084-01 will result in up to $3,008,994.12 in lost

  23 funding relied on by Sacramento County through May 31, 2026. All of this funding had already

  24 been built into SCPH’s approved 24-25 budged and 25-26 budget currently pending. Each of the

  25 above-referenced contracts will have to be terminated, removing over $1.3 million dollars from

  26 the local public health community.

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   1          14.      Prior to the grant award termination on March 24, 2025, CDC had never provided

   2 SCPH with notice, written or otherwise, that the grant administered by CDC was in any way

   3 unsatisfactory.

   4

   5 CDPH COVID-19:

   6          15.      From July 21, 2020 through August 17, 2021, SCPH was allocated four (4) rounds

   7 of COVID-19 Immunization funding, in conjunction with Immunization Local Assistance

   8 funding, as follows: Round 1: $216,036.00; Round 2: $260,284.00, Round 3: $6,229,808, Round

   9 4: $6,039,524.00—for a total of $12,330,332.00 through June 30, 2025. This funding was awarded
  10 by the California Department of Public Health (“CDPH”), as a subrecipient of the State of

  11 California’s COVID-19 Immunization Program grant; CDPH’s funding source was federal

  12 CDC/DHHS funding (Award #6 NH23IP922612-02-02). Sacramento County’s CDPH COVID-19

  13 funding implementation response aimed to detect, prevent and respond to infectious disease

  14 outbreaks via administration of COVID-19, flu, and other Advisory Committee on Immunization

  15 Practices (ACIP)-recommended vaccines to high-risk and underserved communities throughout

  16 Sacramento County. SCPH’s activities included increasing vaccine confidence through education,

  17 outreach, and partnerships; ensuring high quality and safe administration of vaccines through

  18 provider education; increasing use of immunization information systems; monitoring vaccination

  19 coverage; responding to vaccine preventable disease outbreaks; and enhancing surveillance &

  20 reporting activities. True and correct copies of SCPH’s CDPH COVID-19 Immunization funding

  21 award and extensions are attached as Exhibits L-P.

  22          16.      In addition to implementing a SCPH-based mobile immunization strike team of
  23 limited term Registered Nurse positions, SCPH also executed four (4) expenditure contracts with

  24 local public health entities as subrecipients for expanded vaccine availability in schools and

  25 congregate care settings and to coordinate local pediatric and adult vaccination response through

  26 June 30, 2025, with anticipated extension beyond that date. Effective March 2025, all contracts

  27 were active and services were being provided in the community—with $1,198,051 of services still

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   1 outstanding and set to be performed throughout the Sacramento County community through June

   2 2025.

   3          17.     On March 26, 2025, Sacramento County received an informal notification from

   4 CDPH, informing that federal DHHS/CDC was ending CDPH funding effective March 24, 2025

   5 for the expanded Epidemiology Laboratory Capacity (ELC) and COVID-19 Immunization and

   6 Vaccines for Children grants—each of which SCPH is a subrecipient.

   7          18.     Prior to the grant award termination on March 24, 2025, neither CDC nor CDPH

   8 had ever provided SCPH with notice, written or otherwise, that the grant administered by SCPH

   9 was in any way unsatisfactory.
  10          19.     SCPH relied and acted upon its own and CDPH’s expectation and understanding
  11 that HHS and CDC would fulfill its commitment to CDPH and SCPH to provide continued

  12 funding over SCPH’s COVID-19 Immunization Program subrecipient grant.

  13          20.     Termination of the CDC-funded California Department of Public Health (CDPH)-
  14 held COVID-19 Immunization Program grant will result in SCPH losing approximately $4.9

  15 million dollars. In Sacramento County, this grant termination will affect and harm direct vaccine

  16 administration and some SCPH Street Medicine Services. Fourteen limited term Registered Nurse

  17 positions will be terminated. This grant has been instrumental in Sacramento County’s recovery

  18 phase following the COVID-19 pandemic—supporting testing and vaccine distribution to

  19 Sacramento County’s most vulnerable citizens. Termination of this grant and SCPH’s subrecipient

  20 status will undo much of the vaccination availability, distribution, and testing structure built in

  21 Sacramento County. Such a reduction would drastically decrease future local response efforts—

  22 specifically in the form of four (4) expenditure contracts in a total amount of $1,198,051 with local

  23 public health entities to coordinate local pediatric and adult vaccination response.

  24

  25 CDPH Epidemiology and Lab Capacity (ELC) Enhancing Detection Expansion grant

  26          21.     On February 1, 2021, Sacramento County was allocated $59,781,149.00 by the

  27 California Department of Public Health (“CDPH”) as a subrecipient of the State of California’s

  28 Epidemiology and Lab Capacity (ELC) Enhancing Detection Expansion grant. CDPH’s funding

                                                         6
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   1 source was federal CDC/DHHS funding. Sacramento County aimed to support testing, case

   2 investigation, contact tracing, surveillance, containment, and mitigation of COVID-19 and other

   3 emerging infectious diseases. SCPH’s expanded Epidemiology and Lab Capacity subrecipient

   4 grant was for a two and a half-year term from January 15, 2021 through July 31, 2023, and was

   5 later extended for an additional three years through July 31, 2026. True and correct copies of the

   6 ELC expansion grant award and extensions are attached as Exhibits Q-T.

   7          22.    On March 26, 2025, Sacramento County received an informal notification from

   8 CDPH, informing that federal DHHS/CDC was ending CDPH funding effective March 24, 2025

   9 for the expanded Epidemiology Laboratory Capacity (ELC) and COVID-19 Immunization and
  10 Vaccines for Children grants—each of which SCPH is a subrecipient.

  11          23.    Prior to the grant award termination on March 24, 2025, neither CDC nor CDPH
  12 had ever provided SCPH with notice, written or otherwise, that the grant administered by SCPH

  13 was in any way unsatisfactory.

  14          24.    SCPH relied and acted upon its own and CDPH’s expectation and understanding
  15 that HHS and CDC would fulfill its commitment to CDPH and SCPH to provide continued

  16 funding over SCPH’s expanded Epidemiology and Lab Capacity subrecipient grant.

  17          25.    Termination of the CDC-funded California Department of Public Health (CDPH)-
  18 held expanded Epidemiology and Lab Capacity grant will result in SCPH losing roughly $18

  19 million dollars. In Sacramento County, this grant termination will affect and harm the Social

  20 Health Information Exchange (SHIE), funding County Laboratory supplies and equipment, the

  21 County’s ongoing ability to fund SCPH’s Electronic Health Record system (OCHIN), and

  22 Qualtrics (an automated notification, communication surveillance, and response support system).

  23 The loss of Qualtrics alone will critically disrupt SCPH’s workflows around communicable

  24 disease control. SCPH will have a hindered ability to investigate outbreaks of sexually transmitted

  25 diseases (STDs), foodborne diseases, COVID-19, Mpox, and any other yet to be identified

  26 communicable diseases; loss of Qualtrics will also reduce SCPH’s capacity to rapidly scale up in

  27 response to future outbreaks. Additionally, 4.5 permanent County positions, including a Public

  28 Health Nurse, a Medical Case Management Nurse, and emergency management employees, are

                                                       7
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   1 being charged to these grants. Termination of this grant and SCPH’s subrecipient status will

   2 frustrate SCPH’s ability to provide critical services for Sacramento County residents and

   3 undermine the County’s ability to rebuild the local Public Health infrastructure following the

   4 COVID-19 pandemic.

   5          26.    As a further result of this termination, SCPH will be unable to maintain the current

   6 capacity and established workflows to conduct mandated health department activities in

   7 compliance with the expansion of California’s required Basic Services (See 17 Cal. Code. Regs. §

   8 1276), including the collection, tabulation and analysis of public health statistics and

   9 communicable disease control. This would have a direct and immediate impact on SCPH staff and
  10 Sacramento County community clientele, and would impair SCPH’s capacity to rapidly respond to

  11 emergency situations.

  12

  13          27.    The total value of the County of Sacramento’s terminated awards is approximately
  14 $26.5 million dollars, over $3 million dollars of which flows through to local Sacramento County

  15 community-based public health entities. Fourteen limited term Registered Nurse positions will be

  16 terminated and 4.5 permanent County positions are at-risk—which will result in local clinic

  17 terminations. CDC’s net funding termination will harm SCPH’s capacity to provide critical

  18 services for Sacramento County residents and ability to respond to future communicable disease

  19 outbreaks—including STDs, foodborne diseases, COVID-19, Mpox, and any other yet to be

  20 identified communicable diseases.

  21

  22          I declare under penalty of perjury under the laws of the United States of America that the
  23 foregoing is true and correct.

  24          Executed on March 29, 2025, at Sacramento, California.
  25

  26

  27                                                             Dr. Olivia Kasirye, M.D., M.S.
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                                                        8
                               DECLARATION OF DR. OLIVIA KASIRYE, M.D., M.S.
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                      EXHIBIT A
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                         Centers for Disease Control and Prevention

                      Office for State, Tribal, Local and Territorial Support

   National Initiative to Address COVID-19 Health Disparities Among Populations at High-Risk
   and Underserved, Including Racial and Ethnic Minority Populations and Rural Communities

                                     CDC-RFA-OT21-2103

                                           05/03/2021
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  Part I. Overview
 Applicants must go to the synopsis page of this announcement at www.grants.gov and click on
 the "Subscribe" button link to ensure they receive notifications of any changes to CDC-RFA-
 OT21-2103. Applicants also must provide an e-mail address to www.grants.gov to receive
 notifications of changes.
  A. Federal Agency Name:
 Centers for Disease Control and Prevention (CDC) / Agency for Toxic Substances and Disease
 Registry (ATSDR)
  B. Notice of Funding Opportunity (NOFO) Title:
 National Initiative to Address COVID-19 Health Disparities Among Populations at High-Risk
 and Underserved, Including Racial and Ethnic Minority Populations and Rural Communities
  C. Announcement Type: New - Type 1:
 This announcement is only for non-research activities supported by CDC. If research is
 proposed, the application will not be considered. For this purpose, research is defined
 at https://www.gpo.gov/fdsys/pkg/CFR-2007-title42-vol1/pdf/CFR-2007-title42-vol1-sec52-
 2.pdf. Guidance on how CDC interprets the definition of research in the context of public health
 can be found at https://www.hhs.gov/ohrp/regulations-and-policy/regulations/45-cfr-
 46/index.html (See section 45 CFR 46.102(d)).
  D. Agency Notice of Funding Opportunity Number:

 E. Assistance Listings Number:
 93.391
 F. Dates:
 1. Due Date for Letter of Intent (LOI):
 03/26/2021

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 2. Due Date for Applications:
 05/03/2021
 11:59 p.m. U.S. Eastern Standard Time, at www.grants.gov.
 3. Due Date for Informational Conference Call:
 CDC will host two informational conference calls for potential applicants:

 Date: 03/30/2021

 Times: 3:00pm to 4:00pm Eastern Standard Time
 and
 6:00pm to 7:00pm Eastern Standard Time

 Meeting Details:
 Join ZoomGov Meeting
 https://cdc.zoomgov.com/j/16040976381?pwd=NmNjdFcrQlFVSjVPZ25nR0dHay9zdz09

 Meeting ID: 160 4097 6381
 Passcode: OT21-2103
 One tap mobile
 +16692545252,,16040976381#,,,,,,0#,,708148093# US (San Jose)
 +16468287666,,16040976381#,,,,,,0#,,708148093# US (New York)

 Dial by your location
      +1 669 254 5252 US (San Jose)
      +1 646 828 7666 US (New York)
      +1 669 216 1590 US (San Jose)
      +1 551 285 1373 US
 Meeting ID: 160 4097 6381
 Passcode: 708148093
 Find your local number: https://cdc.zoomgov.com/u/advmPjIAqk

 Join by SIP
 16040976381@sip.zoomgov.com

 Join by H.323
 161.199.138.10 (US West)
 161.199.136.10 (US East)
 Meeting ID: 160 4097 6381
 Passcode: 708148093
  G. Executive Summary:
 1. Summary Paragraph
 The Consolidated Appropriations Act, 2021 (P.L. 116-260), which contained the Coronavirus
 Response and Relief Supplemental Appropriations Act, 2021 (P.L. 116-260, Section 2, Division
 M) provided, in part, funding for strategies to improve testing capabilities and other COVID-19
 response activities in populations that are at high-risk and underserved, including racial and

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 ethnic minority groups and people living in rural communities. Strategies also include those to
 develop or identify best practices for states and public health officials to use for contact tracing.

 To achieve these purposes, the Centers for Disease Control and Prevention (CDC) is announcing
 a non-competitive grant                            titled “National Initiative to Address COVID-
 19 Health Disparities Among Populations at High-Risk and Underserved, Including Racial and
 Ethnic Minority Populations and Rural Communities.” This grant will provide funding to address
 COVID-19 and advance health equity (e.g., through strategies, interventions, and services that
 consider systemic barriers and potentially discriminatory practices that have put certain groups at
 higher risk for diseases like COVID-19) in racial and ethnic minority groups and rural
 populations within state, local, US territorial, and freely associated state health jurisdictions.
 a. Eligible Applicants:
 Open Competition
 b. Funding Instrument Type:
 G (Grant)
 c. Approximate Number of Awards
 108
 d. Total Period of Performance Funding:
 $ 2,250,000,000
 All funding will be disbursed during year one with a total performance period of two years.
 e. Average One Year Award Amount:
 $0
 Funding will vary by jurisdiction category. Average one-year award amount by applicant type:
        State Health Department: $32,000,000
        Local Health Departments Serving a County or City with a Population of 2 Million:
        $26,000,000
        Local Health Departments Serving a City with a Population of 400,000 or more, but less
        than 2 Million: $5,000,000
        US Territories and Freely Associated States: $3,000,000
 f. Total Period of Performance Length:
 2
 g. Estimated Award Date:
 June 01, 2021
 h. Cost Sharing and / or Matching Requirements:
 No
 Cost sharing or matching funds are not required for this program. Although no statutory
 matching requirement for this NOFO exists, leveraging other resources and related ongoing
 efforts to promote sustainability is strongly encouraged.
  Part II. Full Text
  A. Funding Opportunity Description


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  1. Background
 a. Overview
 Coronavirus disease 2019 (COVID-19) has disproportionately affected populations placed at
 higher risk and who are medically underserved, including racial and ethnic minority groups, and
 people living in rural communities who are at higher risk of exposure, infection, hospitalization,
 and mortality. Additionally, racial and ethnic minority groups and people living in rural
 communities have disproportionate rates of chronic diseases that increase the severity of
 COVID-19 infection and might experience barriers to accessing testing, treatment, or vaccination
 against the severe acute respiratory syndrome coronavirus 2 (SARS-CoV-2), which causes
 COVID-19.

 To reduce the burden of COVID-19 among populations disproportionately affected, it is
 imperative that state, local, US territorial, and freely associated state health departments (or their
 bona fide agents) work collaboratively and develop partnerships with key partners who have
 existing community or social service delivery programs for African American, Hispanic, Asian
 American, Pacific Islander, Native American or other racial and ethnic minority groups or people
 living in rural communities. Such key partners may include:
        Community-based and civic organizations;
        Tribes, tribal organizations;
        Academic institutions, and universities (e.g., minority serving institutions – Historically
        Black Colleges and Universities (HBCUs), Hispanic Association of Colleges and
        Universities (HACUs), American Indian Higher Education Consortium (AIHEC),Tribal
        Colleges and Universities (TCUs);
        Asian American and Pacific Islander Serving Institutions (AAPI);
        Faith-based organizations;
        Non-governmental organizations;
        Correctional facilities and institutions;
        Local governmental agencies and community leaders;
        Local businesses and business community networks and organizations, (e.g., employers,
        local chambers of commerce, small business community groups);
        Social services providers and organizations, including those that address social
        determinants of health (e.g., community transportation; anti-discrimination organizations;
        legal services);
        Health care providers, including community health centers (e.g., federally qualified
        health centers, (FQHCs);
        Health-related organizations, (e.g., pharmacies, testing centers, community health
        workers);
        State Offices of Rural Health (SORH) or equivalent, State Rural Health Associations
        (SRHAs);
        Rural Health Clinics (RHCs) and Critical Access Hospitals (CAHs); and
        Governmental organizations focused on non-health services (e.g., Coordinating Council
        on Access and Mobility – Department of Transportation, Supportive housing for the
        elderly – Housing and Urban Development).

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 To reach populations at higher risk, underserved, and disproportionately affected, including
 racial and ethnic minority groups and people living in rural communities, it is critical for funded
 recipients and key partners to implement a coordinated and holistic approach that builds on
 culturally, linguistically, and locally tailored strategies and best practices to reduce COVID-19
 risk. In addition, a coordinated and holistic approach is essential to building and sustaining trust,
 ensuring equitable access to COVID-19 related services, and advancing health equity to address
 COVID-19 related health disparities among populations at higher risk, underserved, and
 disproportionately affected .1
 b. Statutory Authorities
 Section 317(k)(2) of the Public Health Service Act [42 USC 247b(k)(2), as amended] and the
 Consolidated Appropriations Act, 2021 (P.L. 116-260), which contained the Coronavirus
 Response and Relief Supplemental Appropriations Act, 2021 (P.L. 116-260, Section 2, Division
 M, Title III).
 c. Healthy People 2030
 This emergency funding opportunity focuses on emergency preparedness and response
 foundational capability and addresses the "Healthy People 2030" focus areas of Preparedness,
 Vaccination, Health Communication, Respiratory Disease, Infectious Disease, Public Health
 Infrastructure, and Social Determinants of Health.

 For specific objectives within these topic areas, please visit www.healthypeople.gov.
 d. Other National Public Health Priorities and Strategies
        Executive Order on Ensuring an Equitable Pandemic Response and Recovery (EO13995)
        Executive Order on Advancing Racial Equity and Support for Underserved Communities
        Through the Federal Government (EO13985)
        National Strategy for the COVID-19 Response and Pandemic Preparedness (see Goal 6)
        CDC COVID-19 Response Health Equity Strategy: Accelerating Progress Towards
        Reducing COVID-19 Disparities and Achieving Health Equity
        Centers for Disease Control and Prevention Coronavirus 2019 (COVID-19)
        Recommendations and Guidance for state, local, territorial and tribal health departments
 e. Relevant Work
 This NOFO is complementary and non-duplicative of the following CDC program activities,
 public health priorities, and strategies:
                               : 2019 Epidemiology and Laboratory Capacity for Prevention and
        Control of Emerging Infectious Diseases (ELC)
        ELC Enhancing Detection Emerging Issues (E) Project: Funding for the Enhanced
        Detection, Response, Surveillance, and Prevention of COVID-19 - Supplement
                               : Strengthening Public Health Systems and Services Through
        National Partnerships to Improvement and Protect the Nation’s Health
  2. CDC Project Description
 a. Approach
 Bold indicates period of performance outcome.


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 Due to the nature of this grant and public health crisis, there is not a predetermined logic model.
 It is expected that funds from this grant will be used to strengthen public health infrastructure,
 preparedness and response capabilities and services in state, local, US territorial and freely
 associated state health departments (or their bona fide agents) to address COVID-19 related
 health disparities and advance health equity in underserved and disproportionately affected
 populations through testing, contact tracing and other mitigation strategies. All applicants must
 define the populations disproportionately affected by COVID-19 within their respective
 jurisdiction, describe how they will reach these populations, and describe their experience
 working with communities that are underserved and at higher risk for COVID-19 disparities and
 health inequities.

 Recipients will be required to include a financial carve out for rural communities, as applicable.
 As such, applicants who serve rural communities must define these communities and describe
 how they will provide direct support (e.g., funding, programs, or services) to those communities
 in their applications. State government applicants must also engage their State Office of Rural
 Health (SORH) or equivalent, in planning and implementing their activities and describe in their
 application how their SORHs or equivalent will be involved. To that end, CDC recommends
 state government applicants engage their respective SORH or equivalent, early in the application
 process. Contact information for SORHs can be found at: https://nosorh.org/nosorh-
 members/nosorh-members-browse-by-state/.

 In addition, applicants are strongly encouraged to develop partnerships and collaborate with key
 partners who have existing community or social service delivery programs for African
 American, Hispanic, Asian American, Pacific Islander, Native American or other racial and
 ethnic minority groups or people living in rural communities. Such key partners may include:
        Community-based and civic organizations;
        Tribes, tribal organizations;
        Academic institutions, and universities (e.g., minority serving institutions – Historically
        Black Colleges and Universities (HBCUs), Hispanic Association of Colleges and
        Universities (HACUs), American Indian Higher Education Consortium (AIHEC),Tribal
        Colleges and Universities (TCUs);
        Asian American and Pacific Islander Serving Institutions (AAPI);
        Faith-based organizations;
        Non-governmental organizations;
        Correctional facilities and institutions;
        Local governmental agencies and community leaders;
        Local businesses and business community networks and organizations, (e.g., employers,
        local chambers of commerce, small business community groups);
        Social services providers and organizations, including those that address social
        determinants of health (e.g., community transportation; anti-discrimination organizations;
        legal services);
        Health care providers, including community health centers (e.g., federally qualified
        health centers, (FQHCs);



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        Health-related organizations, (e.g., pharmacies, testing centers, community health
        workers);
        State Offices of Rural Health (SORH) or equivalent, State Rural Health Associations
        (SRHAs);
        Rural Health Clinics (RHCs) and Critical Access Hospitals (CAHs); and
        Governmental organizations focused on non-health services (e.g., Coordinating Council
        on Access and Mobility – Department of Transportation, Supportive housing for the
        elderly – Housing and Urban Development).

 Through this collaborative approach, applicants will be better able to maximize the impact of
 their federal COVID-19 funding, strengthen implementation of strategies and activities, and
 align resources to better match the burden of COVID-19 among populations who are at higher
 risk and are underserved. This collaboration must be described in the application.

 Applicants are encouraged to establish new funding relationships with partners and community
 organizations and may also continue funding relationships with partners and community
 organizations that have experience working with communities most affected by COVID-19 and
 have the capacity to implement strategies and activities outlined in this NOFO. To ensure
 resources reach the areas of greatest need, all applicants are strongly encouraged to use local
 epidemiologic, surveillance, and other available data sources to inform local resource allocation
 and program efforts, including program planning, implementation, and evaluation.
 i. Purpose
 Address COVID-19-related health disparities and advance health equity by expanding state,
 local, US territorial and freely associated state health department capacity and services to prevent
 and control COVID-19 infection (or transmission) among populations at higher risk and that are
 underserved, including racial and ethnic minority groups and people living in rural communities.
 ii. Outcomes
 The intended outcomes for this grant are:
    1. Reduced COVID-19-related health disparities.
    2. Improved and increased testing and contact tracing among populations at higher risk and
       that are underserved, including racial and ethnic minority groups and people living in
       rural communities.
    3. Improved state, local, US territorial and freely associated state health department capacity
       and services to prevent and control COVID-19 infection (or transmission) among
       populations at higher risk and that are underserved, including racial and ethnic minority
       groups and people living in rural communities.
 iii. Strategies and Activities
 This grant program will address COVID-19-related health disparities and advance health equity
 by expanding state, local, US territorial and freely associated state health department capacity
 and services to prevent and control COVID-19 infection (or transmission) among populations at
 higher risk and that are underserved, including racial and ethnic minority groups and people
 living in rural communities. All strategies should aim to build infrastructures that both address
 disparities in the current COVID-19 pandemic and set the foundation to address future responses.

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 The program is composed of four overarching strategies:

 1. Expand existing and/or develop new mitigation and prevention resources and services to
 reduce COVID-19 related disparities among populations at higher risk and that are
 underserved: Ensuring equitable access to critical COVID-19 personal protective equipment
 (PPE), testing, contact tracing, quarantine and isolation, vaccination, and other wrap-around
 services require deploying focused strategies, resources, and activities to meet the needs of
 individuals and mitigate the spread of COVID-19 among populations disproportionately
 impacted.
 Priority activities for Strategy 1 should include:
         Expand testing (including home test kits and mobile testing sites) and contact tracing
         among populations at higher risk and that are underserved, including racial and ethnic
         minority populations and people living in rural communities;
 Additional activities may include but are not limited to:
         Vaccine coordination, quarantine and isolation options, and preventive care and disease
         management among populations that are underserved and at higher risk for COVID-19
         Tailor and adapt evidence-based policies, systems, and environmental strategies to
         mitigate social and health inequities related to COVID-19
         Identify and establish collaborations with critical partners affiliated with populations at
         higher risk and that are underserved, including racial and ethnic minority groups at higher
         risk for COVID-19 to:1) connect community members to programs, healthcare providers,
         services and resources (e.g., transportation, housing support, food assistance programs,
         mental health and substance abuse services, substance abuse) they might need and 2)
         lessen adverse effects of mitigation strategies
 2. Increase/improve data collection and reporting for populations experiencing a
 disproportionate burden of COVID-19 infection, severe illness, and death to guide the
 response to the COVID-19 pandemic: Improving data systems and the collection, analysis, and
 use of racial, ethnic, and rural health data for COVID-19 prevention and control will help to
 better identify populations and communities disproportionately affected, track resource
 distribution, and evaluate the effectiveness of advancing health equity to address COVID-19-
 related health disparities among disproportionately affected populations. Collection of data that
 contextualize racial, ethnic, and rural health data and robust analysis of these data are
 fundamental activities for improving data collection and reporting.

  Priority activities for Strategy 2 should include:
         Improve data collection and reporting for testing and contact tracing for populations at
         higher risk and that are underserved;
 Additional activities may include but are not limited to:
         Build on plans for collecting and reporting timely, complete, representative, and relevant
         data on testing, incidence, vaccination, and severe outcomes by detailed race and
         ethnicity categories, taking into account age and sex differences between groups

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        Develop strategies to educate providers, community partners, and programs on: 1) the
        importance of the race and ethnicity data and appropriate strategies to collect it: 2) how to
        address mistrust/hesitancy about reporting personal information including race and
        ethnicity, and 3) why this information is important to prevent and control the spread of
        COVID-19
        Develop and implement plans to disseminate health equity-related data and related
        materials tailored to be culturally and linguistically responsive for diverse audiences
        Develop key principles and resources for collecting, analyzing, reporting, and
        disseminating health equity-related data to inform action during a public health
        emergency
        Assure adequate resources for data infrastructure and workforce to ensure alignment with
        data modernization
 3. Build, leverage, and expand infrastructure support for COVID-19 prevention and control
 among populations that are at higher risk and underserved: Sufficient workforce,
 infrastructure, and capacity are critical to providing equitable access to disproportionately
 affected populations. Where feasible, this short-term program will build, leverage, and expand
 the infrastructure and capacity within state, local, US territorial and freely associated state health
 departments (or their bona fide agents) to ensure and expand equitable access to critical COVID-
 19 testing and contact tracing, as well as PPE, quarantine and isolation, vaccination, and other
 wrap-around and supportive services.
 Priority activities for Strategy 3 should include:
        Expand the infrastructure to improve testing and contact tracing among populations at
        higher risk and that are underserved, including racial and ethnic minority populations and
        rural communities;
 Additional activities may include but are not limited to:
        Establish, enhance, or implement leadership-level health equity offices, workgroups, task
        forces, or positions to guide addressing COVID-19 among communities at higher risk
        and that are underserved
        Convene and facilitate multi-sector coalitions or advisory groups that include members of
        underserved communities and organizations that serve the community. These groups may
        provide advice, guidance, and recommendations for addressing COVID-19 and
        advancing health equity among their communities
        Update jurisdictions’ COVID-19 plans and health equity plans to support communities
        most at risk for COVID-19 with the intention of setting up systems that put in place
        infrastructures and plans that can also support future emergency responses
        Build and expand an inclusive public health workforce, including hiring people from the
        community (e.g., community health workers, social workers, other trusted community
        members) who are equipped to assess and address the needs of communities
        disproportionately affected by COVID-19
  4. Mobilize partners and collaborators to advance health equity and address social
 determinants of health as they relate to COVID-19 health disparities among populations at
 higher risk and that are underserved: Identifying and addressing current gaps and factors that
 influence COVID-19-related health disparities requires a collaborative approach. Under this

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 strategy, collaborations between the primary applicant and key partners will broadly address
 health disparities and inequities related to COVID-19. (Please refer to Approach section of
 NOFO for a list of recommended key partners.)
 Priority activities for Strategy 4 should include:
         Build community capacity to reach disproportionately affected populations with effective
         culturally and linguistically tailored programs and practices for testing and contact
         tracing, and quarantine, including racial and ethnic minority populations and rural
         communities;
  Additional activities may include but are not limited to:
         Build and implement cross-sectoral partnerships to align public health, healthcare, and
         non-health (e.g., housing, transportation, social service) interventions that decrease risk
         for COVID-19
         Develop mechanisms such as community advisory groups that include leaders
         representing racial and ethnic minority groups and rural community leaders and members
         representing underserved populations to inform COVID-19 and future emergency
         response activities
         Develop and disseminate culturally and linguistically responsive COVID-19 prevention
         communications through various channels (e.g., local media, local or community
         newspapers, radio, TV, trusted communications agents) written in plain language and in
         formats and languages suitable for diverse audiences—including people with disabilities,
         limited English proficiency, etc.—addressing and, as necessary, dispelling of
         misinformation and barriers to mitigation practices due to mistrust.
         Build community capacity that includes traditional organizations (e.g., public health,
         healthcare) and non-traditional partners (e.g., community health workers, churches,
         transportation providers, social workers) to reach disproportionately affected populations
         with effective culturally and linguistically tailored programs and practices for testing,
         contact tracing, isolating, vaccination, and healthcare strategies
         Identify and establish collaborations with critical partners affiliated with and who provide
         services to populations that are underserved and at higher risk for COVID-19 to
         disseminate scientifically accurate, culturally, and linguistically responsive information
         and facilitate access to health-related services

 Applicants are not required to implement all four strategies, but rather they should select the
 strategies and activities that best address their jurisdiction’s respective priorities and needs.
 Strategies should engage representatives of populations and communities to be served by this
 NOFO. CDC will also allow applicants to propose additional strategies and activities beyond
 those included in the NOFO to best achieve local outcomes. Any proposed new strategy or
 activity should include the rationale for the approach or a brief justification with evidence
 showing why it should be included. Applicants should not propose to allocate all funding to one
 activity (e.g. all funding will be used for one vaccination or testing event only).
 1. Collaborations
 a. With other CDC programs and CDC-funded organizations:


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 Recipients are encouraged to collaborate, as appropriate, with CDC programs and centers,
 institutes, and offices (CIOs) to ensure that activities and funding are coordinated with,
 complementary of, and not duplicative of efforts supported under other CDC programs that
 support COVID-19 response.

 To facilitate the identification and sharing of best practices, program evaluation, training, tool
 development, and communications of findings, recipients may receive tailored technical
 assistance from select national or regional partner organizations funded through CDC-RFA-
 OT18-1802: Strengthening Public Health Systems and Services through National Partnerships to
 Improvement and Protect the Nation’s Health.

 For questions about collaborating with CDC, please contact the CDC point of contact for this
 NOFO.
 b. With organizations not funded by CDC:
 It is a requirement of this opportunity to include a financial carve out for rural communities, as
 applicable. As such, applicants who serve rural communities must define these communities and
 describe how they will provide direct support (e.g., funding, programs and/or services) to those
 communities. State government applicants must also engage their State Office of Rural Health
 (SORH) or equivalent, in planning and implementing their activities and describe in their
 application how their SORHs or equivalent will be involved. To that end, CDC recommends
 state government applicants engage their respective SORH or equivalent, early in the application
 process. Contact information for SORHs can be found at: https://nosorh.org/nosorh-
 members/nosorh-members-browse-by-state/.

 In addition, applicants are strongly encouraged to develop partnerships and collaborate with key
 partners who have existing community or social service delivery programs for African
 American, Hispanic, Asian American, Pacific Islander, Native American or other racial and
 ethnic minority groups or people living in rural communities. Such key partners may include:
        Community-based and civic organizations;
        Tribes, tribal organizations;
        Academic institutions, and universities (e.g., minority serving institutions – Historically
        Black Colleges and Universities (HBCUs), Hispanic Association of Colleges and
        Universities (HACUs), American Indian Higher Education Consortium (AIHEC),Tribal
        Colleges and Universities (TCUs);
        Asian American and Pacific Islander Serving Institutions (AAPI);
        Faith-based organizations;
        Non-governmental organizations;
        Correctional facilities and institutions;
        Local governmental agencies and community leaders;
        Local businesses and business community networks and organizations, (e.g., employers,
        local chambers of commerce, small business community groups);
        Social services providers and organizations, including those that address social
        determinants of health (e.g., community transportation; anti-discrimination organizations;
        legal services);

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        Health care providers, including community health centers (e.g., federally qualified
        health centers, (FQHCs);
        Health-related organizations, (e.g., pharmacies, testing centers, community health
        workers);
        State Offices of Rural Health (SORH) or equivalent, State Rural Health Associations
        (SRHAs);
        Rural Health Clinics (RHCs) and Critical Access Hospitals (CAHs); and
        Governmental organizations focused on non-health services (e.g., Coordinating Council
        on Access and Mobility – Department of Transportation, Supportive housing for the
        elderly – Housing and Urban Development).

 Through this collaborative approach, applicants will be better able to maximize the impact of
 their federal COVID-19 funding, strengthen implementation of strategies and activities, and
 align resources to better match the burden of COVID-19 among populations who are at higher
 risk and are underserved. This collaboration must be described in the application.

 Applicants are encouraged to establish new funding relationships with partners and community
 organizations and may also continue funding relationships with partners and community
 organizations that have experience working with communities most affected by COVID-19 and
 have the capacity to implement strategies and activities outlined in this NOFO. To ensure
 resources reach the areas of greatest need, all applicants are strongly encouraged to use local
 epidemiologic, surveillance, and other available data sources to inform local resource allocation
 and program efforts, including program planning, implementation, and evaluation.

 Memoranda of understanding (MOUs) or memoranda of agreement (MOAs) are encouraged, but
 not required.
 2. Target Populations
 This NOFO relates specifically to populations that have been placed at higher risk and are
 underserved, which, depending on the needs and priorities of the applicant, may include African
 American, Latino, and Indigenous and Native American people, Asian Americans and Pacific
 Islanders, and other people of color; members of religious minorities; lesbian, gay, bisexual,
 transgender, and queer (LGBTQ+) people; people with disabilities; people who live in rural
 communities; people over the age of 65, and people otherwise adversely affected by persistent
 poverty or inequality.

 Recipients are required to define and describe their respective population(s) of focus and
 describe how they will provide direct support (e.g., funding, services, or programs) to those
 communities within their application. Please include in the description the number of those you
 will serve broken out by applicable geographic area and/or community.

 Recipients are also encouraged to include members of the populations and communities to be
 served in the planning, implementation, and evaluation of program activities.
 a. Health Disparities


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 Evidence shows that COVID-19-related health disparities are inextricably linked to complex and
 widespread health and social inequities that have put many people from populations that are
 underserved —including racial and ethnic minority groups and people living in rural
 communities—at higher risk of exposure, infection, hospitalization, and mortality from COVID-
 19.2, 3, 4 Health equity requires striving for the highest possible standard of health for all people,
 giving special attention to the needs of those at greatest risk of poor health, based on social
 conditions.

 The intent of this funding opportunity is to address COVID-19-related health disparities and
 advance health equity by expanding state, local, US territorial and freely associated state health
 department capacity and services to prevent and control COVID-19 infection (or transmission)
 among populations at higher risk and that are underserved, including racial and ethnic minority
 groups and people living in rural communities.

 To reduce the burden of COVID-19 among disproportionately affected populations applicants
 are strongly encouraged to develop partnerships and collaborate with key partners who have
 existing community or social service delivery programs for African American, Hispanic, Asian
 American, Pacific Islander, Native American or other racial and ethnic minority groups or people
 living in rural communities. Such key partners may include:
        Community-based and civic organizations;
        Tribes, tribal organizations;
        Academic institutions, and universities (e.g., minority serving institutions – Historically
        Black Colleges and Universities (HBCUs), Hispanic Association of Colleges and
        Universities (HACUs), American Indian Higher Education Consortium (AIHEC),Tribal
        Colleges and Universities (TCUs);
        Asian American and Pacific Islander Serving Institutions (AAPI);
        Faith-based organizations;
        Non-governmental organizations;
        Correctional facilities and institutions;
        Local governmental agencies and community leaders;
        Local businesses and business community networks and organizations, (e.g., employers,
        local chambers of commerce, small business community groups);
        Social services providers and organizations, including those that address social
        determinants of health (e.g., community transportation; anti-discrimination organizations;
        legal services);
        Health care providers, including community health centers (e.g., federally qualified
        health centers, (FQHCs);
        Health-related organizations, (e.g., pharmacies, testing centers, community health
        workers);
        State Offices of Rural Health (SORH) or equivalent, State Rural Health Associations
        (SRHAs);
        Rural Health Clinics (RHCs) and Critical Access Hospitals (CAHs); and



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        Governmental organizations focused on non-health services (e.g., Coordinating Council
        on Access and Mobility – Department of Transportation, Supportive housing for the
        elderly – Housing and Urban Development).

 To reach populations at higher risk, underserved, and disproportionately affected—including
 racial and ethnic minority groups, and people living in rural communities—it is critical for
 funded recipients and key partners to implement a coordinated and holistic approach that builds
 on culturally, linguistically, and locally tailored strategies and best practices to reduce COVID-
 19 risk. In addition, a coordinated and holistic approach is essential to build and sustain trust,
 ensure equitable access to COVID-19-related services, and advance health equity to address
 COVID-19-related health disparities among populations at higher risk, underserved, and
 disproportionately affected.
 iv. Funding Strategy
 The funding strategy will consist of three components aimed at decreasing health disparities. The
 components are defined by type of jurisdiction. The amount of funds available for each
 component are based on the overall population size for each type of jurisdiction. Funds will be
 awarded for each component using a separate formula that is: a) consistent with the intent of the
 legislation and purposes of the grant, and b) appropriate for the eligible recipients. The three
 jurisdiction-specific components include:
    1. State, City and County Jurisdictions: Approximately 80% of total available funding will
       be awarded to all states and eligible cities and counties based on COVID-19 social and
       structural determinants, as defined by the COVID-19 Community Vulnerability Index
       (CCVI).
    2. Rural Jurisdictions: Approximately 19% of total available funding will be awarded to
       states with rural populations, as defined by the Health Resources and Services
       Administration (HRSA) Federal Office of Rural Health Policy (FORHP) definition of
       rural. All state recipients will receive a portion of the rural funding available. Each
       recipient’s share will be based on the size of the rural population within the recipient’s
       jurisdiction. These funds will be distributed to state recipients in combination with the
       first Component (i.e., the CCVI allotment, in a single award.)
    3. US Territorial and Freely Associated State Jurisdictions: Approximately 1% of total
       available funds will be awarded to US territories and freely associated states. Each US
       territorial and freely associated state recipient will receive base funding ($500,000), plus
       a population-based allotment that has been adjusted for COVID-19 burden. The COVID-
       19 burden adjustment will be based on the cumulative number of cases and deaths (per
       100,000) for each US territory and freely associated state.

 Please see Attachment A:               List of Eligible Applicants for a complete list of eligible
 applicants.
 b. Evaluation and Performance Measurement
 i. CDC Evaluation and Performance Measurement Strategy
 Performance measures will be finalized and provided to recipients within approximately 45 days
 of award.

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 CDC will use recipients’ financial and progress reporting data to address evaluation questions
 relating to use of funds and results associated with the grant. CDC will collect this information
 quarterly through the end of the period of performance utilizing standardize templates. Quarterly
 expenditure and progress reports will be submitted via the Research Electronic Data Capture, or
 otherwise known as REDCap. CDC will provide training and technical assistance for recipients
 on REDCap post-award.

 Given the flexible nature of this grant and diversity of allowable activities, a Data Management
 Plan (DMP) is not required unless a recipient chooses to allocate funding to a COVID-19
 activity that involves the collection, generation, or analysis of data. The DMP may be submitted
 as a checklist, paragraph, or other format. To help guide applicants in developing a DMP, a
 sample plan is provided via the following link:
 http://www.icpsr.umich.edu/icpsrweb/content/datamanagement/dmp/plan.html

 As a result of the declared public health emergency (PHE), COVID-19, CDC’s COVID-19
 related data collections currently fall under a PHE Paperwork Reduction Act (PRA) Waiver as
 part of the 21st Century Cures Act. PRA requirements for most information collection activities
 that support the investigation of, and response to the COVID-19 pandemic, that would normally
 require submission of a PRA package, can be waived. If information collection activities
 continue beyond the period of the declared public health emergency or beyond the termination
 PHE PRA Waiver, all collections will become subject to requirements of the PRA. Awardees
 will receive additional guidance from CDC on how to address these PRA requirements.
 ii. Applicant Evaluation and Performance Measurement Plan
 Applicants must provide an evaluation and performance measurement plan that demonstrates
 how the recipient will fulfill the requirements described in the CDC Evaluation and Performance
 Measurement and Project Description sections of this NOFO. At a minimum, the plan must
 describe:
        How the applicant will collect the performance measures, respond to the evaluation
        questions, and use evaluation findings for continuous program quality improvement.
        How key program partners will participate in the evaluation and performance
        measurement planning processes.
        Available data sources, feasibility of collecting appropriate evaluation and performance
        data, and other relevant data information (e.g., performance measures proposed by the
        applicant)
        Plans for updating the Data Management Plan (DMP) as new pertinent information
        becomes available. If applicable, throughout the lifecycle of the project. Updates to
        DMP should be provided in annual progress reports. The DMP should provide a
        description of the data that will be produced using these NOFO funds; access to data;
        data standards ensuring released data have documentation describing methods of
        collection, what the data represent, and data limitations; and archival and long-term data
        preservation plans. For more information about CDC’s policy on the DMP,
        see https://www.cdc.gov/grants/additionalrequirements/ar-25.html.


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 Where the applicant chooses to, or is expected to, take on specific evaluation studies, the
 applicant should be directed to:
        Describe the type of evaluations (i.e., process, outcome, or both).
        Describe key evaluation questions to be addressed by these evaluations.
        Describe other information (e.g., measures, data sources).
 Recipients will be required to submit a more detailed Evaluation and Performance Measurement
 plan, including a DMP, if applicable, within the first 6 months of award, as described in the
 Reporting Section of this NOFO.
 Due to the nature of this grant and public health crisis, applicants are not required to provide an
 Evaluation and Performance Measurement plan with their application. Recipients are strongly
 encouraged to use evaluation and performance measurement data at the local level to monitor,
 evaluate, and continuously improve program performance. CDC will finalize and provide
 performance measures within approximately 45 days of award. Recipients will be required to
 report quarterly on CDC defined performance measures and participate in CDC evaluation and
 performance management activities. Evaluation reports will be made available to the public.
 c. Organizational Capacity of Recipients to Implement the Approach
 Applicants must demonstrate the organizational capacity needed to carry out and coordinate
 strategies to advance health equity and address COVID-19-related health disparities for
 populations at higher risk and that are underserved, including racial and ethnic minority groups
 and people living in rural communities.

 Applicants must also demonstrate the capacity to collaborate with their State Offices of Rural
 Health (SORH) or equivalent, if applicable, and with key partners with community or social
 service delivery programs for African American, Hispanic, Asian American, Pacific Islander,
 Native American or other racial and ethnic minority groups or people living in rural
 communities. Please refer to Approach section of NOFO for a list of recommended key partners.

 Acceptable documentation includes, but is not limited to, a signed letter by the health department
 leader or their designees on organization letterhead explaining the existing capacity and
 capability; departmental organizational charts; an incident management structure organizational
 chart; and resumes or CVs for key personnel positions that are currently filled ( include position
 descriptions for vacant positions). Applicant must name this file “Organizational Capacity” and
 upload it as a PDF to www.grants.gov.
 d. Work Plan
 Applicants must develop and submit a high-level work plan for the 2-year period of
 performance. The work plan must align with the strategies and activities outlined in the NOFO.
 Specifically, activities must align to one or more of the following strategies:
        Strategy 1:Expand existing and/or develop new mitigation and prevention resources and
        services to reduce COVID-19 related disparities among populations at higher risk and
        that are underserved



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        Strategy 2: Increase/improve data collection and reporting for populations experiencing
        a disproportionate burden of COVID-19 infection, severe illness, and death to guide the
        response to the COVID-19 pandemic
        Strategy 3: Build, leverage, and expand infrastructure support for COVID-19 prevention
        and control among populations that are at higher risk and underserved
        Strategy 4: Mobilize partners and collaborators to advance health equity and address
        social determinants of health as they relate to COVID-19 health disparities among
        populations at higher risk and that are underserved
 Applicants are not required to implement all four strategies, but rather they should select the
 strategies and activities that best address their jurisdiction’s respective priorities and needs.
 Strategies should engage representatives of populations and communities to be served by this
 NOFO. CDC will also allow applicants to propose additional strategies and activities beyond
 those included in the NOFO to best achieve local outcomes. Any proposed new strategy or
 activity should include the rationale for the approach or a brief justification with evidence
 showing why it should be included. Applicants should not propose to allocate all funding to one
 activity (e.g. all funding will be used for one vaccination or testing event only).

 Applicants must use the template provided as Attachment B: CDC-RFA-OT21-2103 Work Plan
 Template. Applicant must name this file “[Name of Jurisdiction] Work Plan” and upload it as an
 attachment to www.grants.gov.
 e. CDC Monitoring and Accountability Approach
 Monitoring activities include routine and ongoing communication between CDC and recipients,
 site visits, and recipient reporting (including work plans, performance, and financial reporting).
 Consistent with applicable grants regulations and policies, CDC expects the following to be
 included in post-award monitoring for grants and cooperative agreements:
        Tracking recipient progress in achieving the desired outcomes.
        Ensuring the adequacy of recipient systems that underlie and generate data reports.
        Creating an environment that fosters integrity in program performance and results.
 Monitoring may also include the following activities deemed necessary to monitor the award:
        Ensuring that work plans are feasible based on the budget and consistent with the intent
        of the award.
        Ensuring that recipients are performing at a sufficient level to achieve outcomes
        within stated timeframes.
        Working with recipients on adjusting the work plan based on achievement of
        outcomes, evaluation results and changing budgets.
        Monitoring performance measures (both programmatic and financial) to assure
        satisfactory performance levels.
 Monitoring and reporting activities that assist grants management staff (e.g., grants management
 officers and specialists, and project officers) in the identification, notification, and management
 of high-risk recipients.

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 CDC will collect recipient financial and progress reporting data quarterly through the end of the
 period of performance.

 CDC will also conduct a virtual compliance visit after six months, but before the end of the first
 year, from date of the award. The virtual compliance visit will be a telephone call and/or video
 conference to ensure the recipient’s compliance with using the funding for the approved
 activities and to identify technical assistance needs. CDC may conduct additional in-person site
 or virtual visits as needed to best facilitate grants management and oversight duties.
  B. Award Information
 1. Funding Instrument Type:
 G (Grant)

 2. Award Mechanism:



 3. Fiscal Year:
 2021
 4. Approximate Total Fiscal Year Funding:
 $ 2,250,000,000

 5. Total Period of Performance Funding:
 $ 2,250,000,000
 This amount is subject to the availability of funds.
 All funding will be disbursed during year one with a total performance period of two years.
 Estimated Total Funding:
 $ 2,250,000,000
 6. Total Period of Performance Length:
 2
 year(s)
 7. Expected Number of Awards:
 108
 8. Approximate Average Award:

 $0
 Per Project Period
 Funding will vary by jurisdiction category. Average one-year award amount by applicant type:
        State Health Department: $32,000,000
        Local Health Departments Serving a County or City with a Population of 2 Million:
        $26,000,000


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        Local Health Departments Serving a City with a Population of 400,000 or more, but less
        than 2 Million: $5,000,000
        US Territories and Freely Associated States: $3,000,000
 9. Award Ceiling:
 $ 50,000,000
 Per Project Period
 This amount is subject to the availability of funds.
 Funding will vary by jurisdiction category. Award Ceiling by applicant type:
        State Health Department: $50,000,000
        Local Health Departments Serving a County or City with a Population of   Million:
        $35,000,000
        Local Health Departments Serving a City with a Population of 400,000 or more, but less
        than 2 Million: $9,000,000
        US Territories and Freely Associated States: $10,000,000
 10. Award Floor:
 $ 500,000
 Per Project Period
 Funding will vary by jurisdiction category. Award Floor by applicant type:
        State Health Department: $17,000,000
        Local Health Departments Serving a County or City with a Population of      Million:
        $17,000,000
        Local Health Departments Serving a City with a Population of 400,000 or more, but less
        than 2 Million: $2,000,000
        US Territories and Freely Associated States: $500,000
 11. Estimated Award Date:
 June 01, 2021

 12. Budget Period Length:
 24 month(s)
 Throughout the project period, CDC will continue the award based on the availability of funds,
 the evidence of satisfactory progress by the recipient (as documented in required reports), and
 the determination that continued funding is in the best interest of the federal government. The
 total number of years for which federal support has been approved (project period) will be shown
 in the “Notice of Award.” This information does not constitute a commitment by the federal
 government to fund the entire period. The total period of performance comprises the initial
 competitive segment and any subsequent non-competitive continuation award(s).


 13. Direct Assistance

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 Direct Assistance (DA) is not available through this NOFO.
 If you are successful and receive a Notice of Award, in accepting the award, you agree that the
 award and any activities thereunder are subject to all provisions of 45 CFR part 75, currently in
 effect or implemented during the period of the award, other Department regulations and policies
 in effect at the time of the award, and applicable statutory provisions.
  C. Eligibility Information
  1. Eligible Applicants
 Eligibility Category:
 00 (State governments)
 01 (County governments)
 02 (City or township governments)
 04 (Special district governments)
 25 (Others (see text field entitled "Additional Information on Eligibility" for clarification))
 Additional Eligibility Category:
 Government Organizations:
 State governments or their bona fide agents (includes the District of Columbia)
 Local governments or their bona fide agents
 Territorial governments or their bona fide agents in the Commonwealth of Puerto Rico, the
 Virgin Islands, the Commonwealth of the Northern Marianna Islands, American Samoa, Guam,
 the Federated States of Micronesia, the Republic of the Marshall Islands, and the Republic of
 Palau
 2. Additional Information on Eligibility
 Awards must be made to state, District of Columbia, local, US territorial, and/or freely
 associated state health departments (or their bona fide agents). Local (health departments)
 governments or their bona fide agents are eligible if they:
        Serve a county population of 2,000,000 or more; or serve a city population of 400,000 or
        more. Population for county and city jurisdictions are based on the following US Census
        2019 resources:
               City and Town Population Totals: 2010-2019 (census.gov) U.S. Census -- Annual
               Estimates of the Resident Population for Incorporated Places of 50,000 or More,
               Ranked by July 1, 2019 Population: April 1, 2010 to July 1, 2019
               County Population Totals: 2010-2019 (census.gov)- US Census – Annual
               Estimates for 2019
 Bona fide agents are eligible to apply. For more information about bona fide agents, please see
 the CDC webpage on Expediting the Federal Grant Process with an Administrative Partner
 located at https://www.cdc.gov/publichealthgateway/grantsfunding/expediting.html#Q2



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 3. Justification for Less than Maximum Competition
 N/A
  4. Cost Sharing or Matching
  Cost Sharing / Matching Requirement:
 No
 Cost sharing or matching funds are not required for this program. Although no statutory
 matching requirement for this NOFO exists, leveraging other resources and related ongoing
 efforts to promote sustainability is strongly encouraged.
 5. Maintenance of Effort
 Maintenance of effort is not required for this program.
 D. Application and Submission Information
 1. Required Registrations
 An organization must be registered at the three following locations before it can submit an
 application for funding at www.grants.gov.

 a. Data Universal Numbering System:
 All applicant organizations must obtain a Data Universal Numbering System (DUNS) number. A
 DUNS number is a unique nine-digit identification number provided by Dun & Bradstreet
 (D&B). It will be used as the Universal Identifier when applying for federal awards or
 cooperative agreements.
 The applicant organization may request a DUNS number by telephone at 1-866-705-5711 (toll
 free) or internet at http:// fedgov.dnb. com/ webform/ displayHomePage.do. The DUNS number
 will be provided at no charge.
 If funds are awarded to an applicant organization that includes sub-recipients, those sub-
 recipients must provide their DUNS numbers before accepting any funds.

 b. System for Award Management (SAM):
 The SAM is the primary registrant database for the federal government and the repository into
 which an entity must submit information required to conduct business as a recipient. All
 applicant organizations must register with SAM, and will be assigned a SAM number. All
 information relevant to the SAM number must be current at all times during which the applicant
 has an application under consideration for funding by CDC. If an award is made, the SAM
 information must be maintained until a final financial report is submitted or the final payment is
 received, whichever is later. The SAM registration process can require 10 or more business days,
 and registration must be renewed annually. Additional information about registration procedures
 may be found at https://www.sam.gov/SAM/.

 c. Grants.gov:
 The first step in submitting an application online is registering your organization
 at www.grants.gov, the official HHS E-grant Web site. Registration information is located at the
 "Applicant Registration" option at www.grants.gov.
 All applicant organizations must register at www.grants.gov. The one-time registration process
 usually takes not more than five days to complete. Applicants should start the registration

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  3. Application Package
 Applicants must download the SF-424, Application for Federal Assistance, package associated
 with this notice of funding opportunity at www.grants.gov.
  4. Submission Dates and Times
 If the application is not submitted by the deadline published in the NOFO, it will not be
 processed. Office of Grants Services (OGS) personnel will notify the applicant that their
 application did not meet the deadline. The applicant must receive pre-approval to submit a paper
 application (see Other Submission Requirements section for additional details). If the applicant is
 authorized to submit a paper application, it must be received by the deadline provided by OGS.
 a. Letter of Intent Deadline (must be emailed or postmarked by)
 Due Date for Letter Of Intent 03/26/2021
 03/26/2021
 b. Application Deadline
 05/03/2021
 11:59 pm U.S. Eastern Standard Time, at www.grants.gov. If Grants.gov is inoperable and
 cannot receive applications, and circumstances preclude advance notification of an extension,
 then applications must be submitted by the first business day on which grants.gov operations
 resume.
 Due Date for Information Conference Call
 CDC will host two informational conference calls for potential applicants:

 Date: 03/30/2021

 Times: 3:00pm to 4:00pm Eastern Standard Time
 and
 6:00pm to 7:00pm Eastern Standard Time

 Meeting Details:
 Join ZoomGov Meeting
 https://cdc.zoomgov.com/j/16040976381?pwd=NmNjdFcrQlFVSjVPZ25nR0dHay9zdz09

 Meeting ID: 160 4097 6381
 Passcode: OT21-2103
 One tap mobile
 +16692545252,,16040976381#,,,,,,0#,,708148093# US (San Jose)
 +16468287666,,16040976381#,,,,,,0#,,708148093# US (New York)

 Dial by your location
      +1 669 254 5252 US (San Jose)
      +1 646 828 7666 US (New York)
      +1 669 216 1590 US (San Jose)
      +1 551 285 1373 US
 Meeting ID: 160 4097 6381

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 Passcode: 708148093
 Find your local number: https://cdc.zoomgov.com/u/advmPjIAqk

 Join by SIP
 16040976381@sip.zoomgov.com

 Join by H.323
 161.199.138.10 (US West)
 161.199.136.10 (US East)
 Meeting ID: 160 4097 6381
 Passcode: 708148093
  5. CDC Assurances and Certifications
 All applicants are required to sign and submit “Assurances and Certifications” documents
 indicated at http://wwwn.cdc.gov/ grantassurances/ (S(mj444mxct51lnrv1hljjjmaa))
 /Homepage.aspx.
 Applicants may follow either of the following processes:
        Complete the applicable assurances and certifications with each application submission,
        name the file “Assurances and Certifications” and upload it as a PDF file with
        at www.grants.gov
        Complete the applicable assurances and certifications and submit them directly to CDC
        on an annual basis at http://wwwn.cdc.gov/ grantassurances/
        (S(mj444mxct51lnrv1hljjjmaa))/ Homepage.aspx
 Assurances and certifications submitted directly to CDC will be kept on file for one year and will
 apply to all applications submitted to CDC by the applicant within one year of the submission
 date.

 Risk Assessment Questionnaire Requirement
 CDC is required to conduct pre-award risk assessments to determine the risk an applicant poses
 to meeting federal programmatic and administrative requirements by taking into account issues
 such as financial instability, insufficient management systems, non-compliance with award
 conditions, the charging of unallowable costs, and inexperience. The risk assessment will include
 an evaluation of the applicant’s CDC Risk Questionnaire, located
 at https://www.cdc.gov/grants/documents/PPMR-G-CDC-Risk-Questionnaire.pdf, as well as a
 review of the applicant’s history in all available systems; including OMB-designated repositories
 of government-wide eligibility and financial integrity systems (see 45 CFR 75.205(a)), and other
 sources of historical information. These systems include, but are not limited to: FAPIIS
 (https://www.fapiis.gov/), including past performance on federal contracts as per Duncan Hunter
 National Defense Authorization Act of 2009; Do Not Pay list; and System for Award
 Management (SAM) exclusions.

 CDC requires all applicants to complete the Risk Questionnaire, OMB Control Number 0920-
 1132 annually. This questionnaire, which is located
 at https://www.cdc.gov/grants/documents/PPMR-G-CDC-Risk-Questionnaire.pdf, along with

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 supporting documentation must be submitted with your application by the closing date of the
 Notice of Funding Opportunity Announcement. If your organization has completed CDC’s Risk
 Questionnaire within the past 12 months of the closing date of this NOFO, then you must submit
 a copy of that questionnaire, or submit a letter signed by the authorized organization
 representative to include the original submission date, organization’s EIN and DUNS.
 When uploading supporting documentation for the Risk Questionnaire into this application
 package, clearly label the documents for easy identification of the type of documentation. For
 example, a copy of Procurement policy submitted in response to the questionnaire may be
 labeled using the following format: Risk Questionnaire Supporting Documents _ Procurement
 Policy.

 Duplication of Efforts
 Applicants are responsible for reporting if this application will result in programmatic,
 budgetary, or commitment overlap with another application or award (i.e. grant, cooperative
 agreement, or contract) submitted to another funding source in the same fiscal
 year. Programmatic overlap occurs when (1) substantially the same project is proposed in more
 than one application or is submitted to two or more funding sources for review and funding
 consideration or (2) a specific objective and the project design for accomplishing the objective
 are the same or closely related in two or more applications or awards, regardless of the funding
 source. Budgetary overlap occurs when duplicate or equivalent budgetary items (e.g.,
 equipment, salaries) are requested in an application but already are provided by another
 source. Commitment overlap occurs when an individual’s time commitment exceeds 100
 percent, whether or not salary support is requested in the application. Overlap, whether
 programmatic, budgetary, or commitment of an individual’s effort greater than 100 percent, is
 not permitted. Any overlap will be resolved by the CDC with the applicant and the PD/PI prior
 to award.
 Report Submission: The applicant must upload the report in Grants.gov under “Other
 Attachment Forms.” The document should be labeled: "Report on Programmatic, Budgetary,
 and Commitment Overlap.”
 6. Content and Form of Application Submission
 Applicants are required to include all of the following documents with their application package
 at www.grants.gov.
  7. Letter of Intent
 Letters of Intent (LOI) are not required but are requested as part of the application for this
 NOFO. The purpose of an LOI is to allow CDC program staff to estimate the number of and plan
 for the review of submitted applications.

 Letters of Intent should be submitted via email to OT21-2103Support@cdc.gov no later than
 March 26, 2021.




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  8. Table of Contents
 (There is no page limit. The table of contents is not included in the project narrative page
 limit.): The applicant must provide, as a separate attachment, the “Table of Contents” for the
 entire submission package.
 Provide a detailed table of contents for the entire submission package that includes all of the
 documents in the application and headings in the "Project Narrative" section. Name the file
 "Table of Contents" and upload it as a PDF file under "Other Attachment Forms"
 at www.grants.gov.
  9. Project Abstract Summary
 A project abstract is included on the mandatory documents list and must be submitted
 at www.grants.gov. The project abstract must be a self-contained, brief summary of the proposed
 project including the purpose and outcomes. This summary must not include any proprietary or
 confidential information. Applicants must enter the summary in the "Project Abstract Summary"
 text box at www.grants.gov.
  10. Project Narrative
 (Unless specified in the "H. Other Information" section, maximum of 20 pages, single spaced, 12
 point font, 1-inch margins, number all pages. This includes the work plan. Content beyond the
 specified page number will not be reviewed.)
 Applicants must submit a Project Narrative with the application forms. Applicants must name
 this file “Project Narrative” and upload it at www.grants.gov. The Project Narrative must
 include all of the following headings (including subheadings): Background, Approach,
 Applicant Evaluation and Performance Measurement Plan, Organizational Capacity of
 Applicants to Implement the Approach, and Work Plan. The Project Narrative must be succinct,
 self-explanatory, and in the order outlined in this section. It must address outcomes and activities
 to be conducted over the entire period of performance as identified in the CDC Project
 Description section. Applicants should use the federal plain language guidelines and Clear
 Communication Index to respond to this Notice of Funding Opportunity. Note that recipients
 should also use these tools when creating public communication materials supported by this
 NOFO. Failure to follow the guidance and format may negatively impact scoring of the
 application.
 a. Background
 Applicants must provide a description of relevant background information that includes the
 context of the problem (See CDC Background).
  b. Approach
 i. Purpose
 Applicants must describe in 2-3 sentences specifically how their application will address the
 public health problem as described in the CDC Background section.

 ii. Outcomes



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 Applicants must clearly identify the outcomes they expect to achieve by the end of the project
 period, as identified in the logic model in the Approach section of the CDC Project Description.
 Outcomes are the results that the program intends to achieve and usually indicate the intended
 direction of change (e.g., increase, decrease).

 iii. Strategies and Activities
 Applicants must provide a clear and concise description of the strategies and activities they will
 use to achieve the period of performance outcomes. Applicants must select existing evidence-
 based strategies that meet their needs, or describe in the Applicant Evaluation and Performance
 Measurement Plan how these strategies will be evaluated over the course of the project period.
 See the Strategies and Activities section of the CDC Project Description.

 1. Collaborations
 Applicants must describe how they will collaborate with programs and organizations either
 internal or external to CDC. Applicants must address the Collaboration requirements as
 described in the CDC Project Description.
 2. Target Populations and Health Disparities
 Applicants must describe the specific target population(s) in their jurisdiction and explain how
 such a target will achieve the goals of the award and/or alleviate health disparities. The
 applicants must also address how they will include specific populations that can benefit from the
 program that is described in the Approach section. Applicants must address the Target
 Populations and Health Disparities requirements as described in the CDC Project Description.
 c. Applicant Evaluation and Performance Measurement Plan
 Applicants must provide an evaluation and performance measurement plan that demonstrates
 how the recipient will fulfill the requirements described in the CDC Evaluation and Performance
 Measurement and Project Description sections of this NOFO. At a minimum, the plan must
 describe:
        How applicant will collect the performance measures, respond to the evaluation
        questions, and use evaluation findings for continuous program quality improvement. The
        Paperwork Reduction Act of 1995 (PRA): Applicants are advised that any activities
        involving information collections (e.g., surveys, questionnaires, applications, audits, data
        requests, reporting, recordkeeping and disclosure requirements) from 10 or more
        individuals or non-Federal entities, including State and local governmental agencies, and
        funded or sponsored by the Federal Government are subject to review and approval by
        the Office of Management and Budget. For further information about CDC’s
        requirements under PRA see http://www.hhs.gov/ ocio/policy/collection/.
        How key program partners will participate in the evaluation and performance
        measurement planning processes.
        Available data sources, feasibility of collecting appropriate evaluation and performance
        data, data management plan (DMP), and other relevant data information (e.g.,
        performance measures proposed by the applicant).

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 Where the applicant chooses to, or is expected to, take on specific evaluation studies, they should
 be directed to:
        Describe the type of evaluations (i.e., process, outcome, or both).
        Describe key evaluation questions to be addressed by these evaluations.
        Describe other information (e.g., measures, data sources).
 Recipients will be required to submit a more detailed Evaluation and Performance Measurement
 plan (including the DMP elements) within the first 6 months of award, as described in the
 Reporting Section of this NOFO.
 d. Organizational Capacity of Applicants to Implement the Approach
 Applicants must address the organizational capacity requirements as described in the CDC
 Project Description.
  11. Work Plan
 (Included in the Project Narrative’s page limit)
 Applicants must prepare a work plan consistent with the CDC Project Description Work Plan
 section. The work plan integrates and delineates more specifically how the recipient plans to
 carry out achieving the period of performance outcomes, strategies and activities, evaluation and
 performance measurement.
  12. Budget Narrative
 Applicants must submit an itemized budget narrative. When developing the budget narrative,
 applicants must consider whether the proposed budget is reasonable and consistent with the
 purpose, outcomes, and program strategy outlined in the project narrative. The budget must
 include:
        Salaries and wages
        Fringe benefits
        Consultant costs
        Equipment
        Supplies
        Travel
        Other categories
        Contractual costs
        Total Direct costs
        Total Indirect costs
 Indirect costs could include the cost of collecting, managing, sharing and preserving data.



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 Indirect costs on grants awarded to foreign organizations and foreign public entities and
 performed fully outside of the territorial limits of the U.S. may be paid to support the costs of
 compliance with federal requirements at a fixed rate of eight percent of MTDC exclusive of
 tuition and related fees, direct expenditures for equipment, and subawards in excess of
 $25,000. Negotiated indirect costs may be paid to the American University, Beirut, and the
 World Health Organization.
 If applicable and consistent with the cited statutory authority for this announcement, applicant
 entities may use funds for activities as they relate to the intent of this NOFO to meet national
 standards or seek health department accreditation through the Public Health Accreditation Board
 (see: http://www.phaboard.org). Applicant entities to whom this provision applies include state,
 local, territorial governments (including the District of Columbia, the Commonwealth of Puerto
 Rico, the Virgin Islands, the Commonwealth of the Northern Marianna Islands, American
 Samoa, Guam, the Federated States of Micronesia, the Republic of the Marshall Islands, and the
 Republic of Palau), or their bona fide agents, political subdivisions of states (in consultation with
 states), federally recognized or state-recognized American Indian or Alaska Native tribal
 governments, and American Indian or Alaska Native tribally designated organizations. Activities
 include those that enable a public health organization to deliver public health services such as
 activities that ensure a capable and qualified workforce, up-to-date information systems, and the
 capability to assess and respond to public health needs. Use of these funds must focus on
 achieving a minimum of one national standard that supports the intent of the NOFO. Proposed
 activities must be included in the budget narrative and must indicate which standards will be
 addressed.
 Vital records data, including births and deaths, are used to inform public health program and
 policy decisions. If applicable and consistent with the cited statutory authority for this NOFO,
 applicant entities are encouraged to collaborate with and support their jurisdiction’s vital records
 office (VRO) to improve vital records data timeliness, quality and access, and to advance public
 health goals. Recipients may, for example, use funds to support efforts to build VRO capacity
 through partnerships; provide technical and/or financial assistance to improve vital records
 timeliness, quality or access; or support vital records improvement efforts, as approved by CDC.
 Applicants must name this file “Budget Narrative” and upload it as a PDF file
 at www.grants.gov. If requesting indirect costs in the budget, a copy of the indirect cost-rate
 agreement is required. If the indirect costs are requested, include a copy of the current negotiated
 federal indirect cost rate agreement or a cost allocation plan approval letter for those Recipients
 under such a plan. Applicants must name this file “Indirect Cost Rate” and upload it
 at www.grants.gov.
  13. Funds Tracking
 Proper fiscal oversight is critical to maintaining public trust in the stewardship of federal funds.
 Effective October 1, 2013, a new HHS policy on subaccounts requires the CDC to set up
 payment subaccounts within the Payment Management System (PMS) for all new grant awards.
 Funds awarded in support of approved activities and drawdown instructions will be identified on
 the Notice of Award in a newly established PMS subaccount (P subaccount). Recipients will be
 required to draw down funds from award-specific accounts in the PMS. Ultimately, the
 subaccounts will provide recipients and CDC a more detailed and precise understanding of
 financial transactions. The successful applicant will be required to track funds by P-accounts/sub

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 accounts for each project/cooperative agreement awarded. Applicants are encouraged to
 demonstrate a record of fiscal responsibility and the ability to provide sufficient and effective
 oversight. Financial management systems must meet the requirements as described 45 CFR 75
 which include, but are not limited to, the following:
        Records that identify adequately the source and application of funds for federally-funded
        activities.
        Effective control over, and accountability for, all funds, property, and other assets.
        Comparison of expenditures with budget amounts for each Federal award.
        Written procedures to implement payment requirements.
        Written procedures for determining cost allowability.
        Written procedures for financial reporting and monitoring.
  14. Pilot Program for Enhancement of Employee Whistleblower Protections
 Pilot Program for Enhancement of Employee Whistleblower Protections: All applicants will be
 subject to a term and condition that applies the terms of 48 Code of Federal Regulations
 (CFR) section 3.908 to the award and requires that recipients inform their employees in writing
 (in the predominant native language of the workforce) of employee whistleblower rights and
 protections under 41 U.S.C. 4712.
  15. Copyright Interests Provisions
 This provision is intended to ensure that the public has access to the results and accomplishments
 of public health activities funded by CDC. Pursuant to applicable grant regulations and CDC’s
 Public Access Policy, Recipient agrees to submit into the National Institutes of Health (NIH)
 Manuscript Submission (NIHMS) system an electronic version of the final, peer-reviewed
 manuscript of any such work developed under this award upon acceptance for publication, to be
 made publicly available no later than 12 months after the official date of publication. Also at the
 time of submission, Recipient and/or the Recipient’s submitting author must specify the date the
 final manuscript will be publicly accessible through PubMed Central (PMC). Recipient and/or
 Recipient’s submitting author must also post the manuscript through PMC within twelve (12)
 months of the publisher's official date of final publication; however the author is strongly
 encouraged to make the subject manuscript available as soon as possible. The recipient must
 obtain prior approval from the CDC for any exception to this provision.


 The author's final, peer-reviewed manuscript is defined as the final version accepted for journal
 publication, and includes all modifications from the publishing peer review process, and all
 graphics and supplemental material associated with the article. Recipient and its submitting
 authors working under this award are responsible for ensuring that any publishing or copyright
 agreements concerning submitted articles reserve adequate right to fully comply with this
 provision and the license reserved by CDC. The manuscript will be hosted in both PMC and the
 CDC Stacks institutional repository system. In progress reports for this award, recipient must
 identify publications subject to the CDC Public Access Policy by using the applicable NIHMS


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 identification number for up to three (3) months after the publication date and the PubMed
 Central identification number (PMCID) thereafter.
 16. Funding Restrictions
 Restrictions that must be considered while planning the programs and writing the budget are:
        Recipients may not use funds for research.
        Recipients may not use funds for clinical care except as allowed by law.
        Recipients may use funds only for reasonable program purposes, including personnel,
        travel, supplies, and services.
        Generally, recipients may not use funds to purchase furniture or equipment. Any such
        proposed spending must be clearly identified in the budget.
        Reimbursement of pre-award costs generally is not allowed, unless the CDC provides
        written approval to the recipient.
        Other than for normal and recognized executive-legislative relationships, no funds may
        be used for:
            o publicity or propaganda purposes, for the preparation, distribution, or use of any
              material designed to support or defeat the enactment of legislation before any
              legislative body
            o the salary or expenses of any grant or contract recipient, or agent acting for such
              recipient, related to any activity designed to influence the enactment of
              legislation, appropriations, regulation, administrative action, or Executive order
              proposed or pending before any legislative body
        See Additional Requirement (AR) 12 for detailed guidance on this prohibition
        and additional guidance on lobbying for CDC recipients.
        The direct and primary recipient in a cooperative agreement program must perform a
        substantial role in carrying out project outcomes and not merely serve as a conduit for an
        award to another party or provider who is ineligible.
 Coronavirus Disease 2019 (COVID-19) Funds:

        A recipient of a grant or cooperative agreement awarded by the Department of Health and
        Human Services (HHS) with funds made available under the Coronavirus Preparedness
        and Response Supplemental Appropriations Act, 2020 (P.L. 116-123); the Coronavirus
        Aid, Relief, and Economic Security Act, 2020 (the “CARES Act”) (P.L. 116-136); the
        Paycheck Protection Program and Health Care Enhancement Act (P.L. 116-139); and/or
        H.R. 133 - Consolidated Appropriations Act, 2021, Division M – Coronavirus Response
        and Relief Supplemental Appropriations Act, 2021, agrees, as applicable to the award, to:
        1) comply with existing and/or future directives and guidance from the Secretary
        regarding control of the spread of COVID-19; 2) in consultation and coordination with
        HHS, provide, commensurate with the condition of the individual, COVID-19 patient
        care regardless of the individual’s home jurisdiction and/or appropriate public health

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        measures (e.g., social distancing, home isolation); and 3) assist the United States
        Government in the implementation and enforcement of federal orders related to
        quarantine and isolation.
        In addition, to the extent applicable, Recipient will comply with Section 18115 of the
        CARES Act, with respect to the reporting to the HHS Secretary of results of tests
        intended to detect SARS–CoV–2 or to diagnose a possible case of COVID–19. Such
        reporting shall be in accordance with guidance and direction from HHS and/or
        CDC. HHS laboratory reporting guidance is posted
        at: https://www.hhs.gov/sites/default/files/covid-19-laboratory-data-reporting-
        guidance.pdf.
        Further, consistent with the full scope of applicable grant regulations (45 C.F.R. 75.322),
        the purpose of this award, and the underlying funding, the recipient is expected to provide
        to CDC copies of and/or access to COVID-19 data collected and evaluations conducted
        with these funds, including but not limited to data related to COVID-19 testing. CDC will
        specify in further guidance and directives what is encompassed by this requirement.
        To achieve the public health objectives of ensuring the health, safety, and welfare of all
        Americans, Recipient must distribute or administer vaccine without discriminating on
        non-public-health grounds within a prioritized group.


  18. Data Management Plan
 As identified in the Evaluation and Performance Measurement section, applications involving
 data collection or generation must include a Data Management Plan (DMP) as part of their
 evaluation and performance measurement plan unless CDC has stated that CDC will take on the
 responsibility of creating the DMP. The DMP describes plans for assurance of the quality of the
 public health data through the data's lifecycle and plans to deposit the data in a repository to
 preserve and to make the data accessible in a timely manner. See web link for additional
 information:
 https://www.cdc.gov/grants/additionalrequirements/ar-25.html
 18. Other Submission Requirements
 a. Electronic Submission:
 Applications must be submitted electronically by using the forms and instructions posted for this
 notice of funding opportunity at www.grants.gov. Applicants can complete the application
 package using Workspace, which allows forms to be filled out online or offline. All application
 attachments must be submitted using a PDF file format. Instructions and training for using
 Workspace can be found at www.grants.gov under the "Workspace Overview" option.

 b. Tracking Number: Applications submitted through www.grants.gov are time/date stamped
 electronically and assigned a tracking number. The applicant’s Authorized Organization
 Representative (AOR) will be sent an e-mail notice of receipt when www.grants.gov receives the
 application. The tracking number documents that the application has been submitted and initiates
 the required electronic validation process before the application is made available to CDC.

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 c. Validation Process: Application submission is not concluded until the validation process is
 completed successfully. After the application package is submitted, the applicant will receive a
 “submission receipt” e-mail generated by www.grants.gov. A second e-mail message to
 applicants will then be generated by www.grants.gov that will either validate or reject the
 submitted application package. This validation process may take as long as two business days.
 Applicants are strongly encouraged to check the status of their application to ensure that
 submission of their package has been completed and no submission errors have occurred.
 Applicants also are strongly encouraged to allocate ample time for filing to guarantee that their
 application can be submitted and validated by the deadline published in the NOFO. Non-
 validated applications will not be accepted after the published application deadline date.
 If you do not receive a “validation” e-mail within two business days of application submission,
 please contact www.grants.gov. For instructions on how to track your application, refer to the e-
 mail message generated at the time of application submission or the Grants.gov Online User
 Guide.
 https:// www.grants.gov/help/html/help/index.htm? callingApp=custom#t=
 Get_Started%2FGet_Started. htm
 d. Technical Difficulties: If technical difficulties are encountered at www.grants.gov, applicants
 should contact Customer Service at www.grants.gov. The www.grants.gov Contact Center is
 available 24 hours a day, 7 days a week, except federal holidays. The Contact Center is available
 by phone at 1-800-518-4726 or by e-mail at support@grants.gov. Application submissions sent
 by e-mail or fax, or on CDs or thumb drives will not be accepted. Please note that
 www.grants.gov is managed by HHS.
 e. Paper Submission: If technical difficulties are encountered at www.grants.gov, applicants
 should call the www.grants.gov Contact Center at 1-800-518-4726 or e-mail them
 at support@grants.gov for assistance. After consulting with the Contact Center, if the technical
 difficulties remain unresolved and electronic submission is not possible, applicants may e-mail
 CDC GMO/GMS, before the deadline, and request permission to submit a paper application.
 Such requests are handled on a case-by-case basis.
 An applicant’s request for permission to submit a paper application must:
    1. Include the www.grants.gov case number assigned to the inquiry
    2. Describe the difficulties that prevent electronic submission and the efforts taken with
       the www.grants.gov Contact Center to submit electronically; and
    3. Be received via e-mail to the GMS/GMO listed below at least three calendar days before
       the application deadline. Paper applications submitted without prior approval will not be
       considered.

        If a paper application is authorized, OGS will advise the applicant of specific instructions
        for submitting the application (e.g., original and two hard copies of the application by
        U.S. mail or express delivery service).
  E. Review and Selection Process



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 1. Review and Selection Process: Applications will be reviewed in three phases
 a. Phase 1 Review
 All applications will be initially reviewed for eligibility and completeness by CDC Office of
 Grants Services. Complete applications will be reviewed for responsiveness by the Grants
 Management Officials and Program Officials. Non-responsive applications will not advance to
 Phase II review. Applicants will be notified that their applications did not meet eligibility and/or
 published submission requirements.


 b. Phase II Review
 A review panel will evaluate complete, eligible applications in accordance with the criteria
 below.

 i. Approach
 ii. Evaluation and Performance Measurement
 iii. Applicant’s Organizational Capacity to Implement the Approach

 Not more than thirty days after the Phase II review is completed, applicants will be notified
 electronically if their application does not meet eligibility or published submission requirements
 i. Approach                                                                    Maximum Points: 0
 ii. Evaluation and Performance Measurement                                     Maximum Points: 0
 iii. Applicant's Organizational Capacity to Implement the
                                                                                Maximum Points: 0
 Approach
 Budget                                                                         Maximum Points: 0
 i. Approach                                                                    Maximum Points: 0
 ii. Evaluation and Performance Measurement                                     Maximum Points: 0
 iii. Applicant's Organizational Capacity to Implement the
                                                                                Maximum Points: 0
 Approach
 Budget                                                                         Maximum Points: 0

 c. Phase III Review
 This is a noncompetitive NOFO. Applications will be reviewed for technical merit without
 scoring.
 Review of risk posed by applicants.
 Prior to making a Federal award, CDC is required by 31 U.S.C. 3321 and 41 U.S.C. 2313 to
 review information available through any OMB-designated repositories of government-wide
 eligibility qualification or financial integrity information as appropriate. See also suspension and
 debarment requirements at 2 CFR parts 180 and 376.
 In accordance 41 U.S.C. 2313, CDC is required to review the non-public segment of the OMB-
 designated integrity and performance system accessible through SAM (currently the
 Federal Recipient Performance and Integrity Information System (FAPIIS)) prior to making a
 Federal award where the Federal share is expected to exceed the simplified acquisition threshold,

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 defined in 41 U.S.C. 134, over the period of performance. At a minimum, the information in the
 system for a prior Federal award recipient must demonstrate a satisfactory record of executing
 programs or activities under Federal grants, cooperative agreements, or procurement awards; and
 integrity and business ethics. CDC may make a Federal award to a recipient who does not fully
 meet these standards, if it is determined that the information is not relevant to the current Federal
 award under consideration or there are specific conditions that can appropriately mitigate the
 effects of the non-Federal entity's risk in accordance with 45 CFR §75.207.
 CDC’s framework for evaluating the risks posed by an applicant may incorporate results of the
 evaluation of the applicant's eligibility or the quality of its application. If it is determined that a
 Federal award will be made, special conditions that correspond to the degree of risk assessed
 may be applied to the Federal award. The evaluation criteria is described in this Notice of
 Funding Opportunity.
 In evaluating risks posed by applicants, CDC will use a risk-based approach and may consider
 any items such as the following:
 (1) Financial stability;
 (2) Quality of management systems and ability to meet the management standards prescribed in
 this part;
 (3) History of performance. The applicant's record in managing Federal awards, if it is a prior
 recipient of Federal awards, including timeliness of compliance with applicable reporting
 requirements, conformance to the terms and conditions of previous Federal awards, and if
 applicable, the extent to which any previously awarded amounts will be expended prior to future
 awards;
 (4) Reports and findings from audits performed under subpart F 45 CFR 75 or the reports and
 findings of any other available audits; and
 (5) The applicant's ability to effectively implement statutory, regulatory, or other requirements
 imposed on non-Federal entities.
 CDC must comply with the guidelines on government-wide suspension and debarment in 2 CFR
 part 180, and require non-Federal entities to comply with these provisions. These provisions
 restrict Federal awards, subawards and contracts with certain parties that are debarred, suspended
 or otherwise excluded from or ineligible for participation in Federal programs or activities.
 2. Announcement and Anticipated Award Dates
 The anticipated posting date is March 17, 2021, on www.grants.gov. Applicants will have up to
 45 days, or May 3, 2021, to respond. Applicants are encouraged to apply early. The anticipated
 award date is approximately 30 calendar days after the end of the application period, or June 1,
 2021.
  F. Award Administration Information
  1. Award Notices
 Recipients will receive an electronic copy of the Notice of Award (NOA) from CDC OGS. The
 NOA shall be the only binding, authorizing document between the recipient and CDC. The
 NOA will be signed by an authorized GMO and emailed to the Recipient Business Officer listed
 in application and the Program Director.
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 Any applicant awarded funds in response to this Notice of Funding Opportunity will be subject
 to the DUNS, SAM Registration, and Federal Funding Accountability And Transparency Act Of
 2006 (FFATA) requirements.

 Unsuccessful applicants will receive notification of these results by e-mail with delivery receipt
 or by U.S. mail.
 2. Administrative and National Policy Requirements
 The following Administrative Requirements (AR) apply to this NOFO:
        AR-7: Executive Order 12372 Review
        AR-8: Public Health System Reporting Requirements
        AR-9: Paperwork Reduction Act Requirements
        AR-10: Smoke-Free Workplace Requirements
        AR-11: Healthy People 2030
        AR-12: Lobbying Restrictions
        AR-13: Prohibition on Use of CDC Funds for Certain Gun Control Activities
        AR-8: Public Health System Reporting Requirements
        AR-15: Proof of Non-profit Status
        AR-23: Compliance with 45 CFR Part 87
        AR-14: Accounting System Requirements
        AR-16: Security Clearance Requirement
        AR-21: Small, Minority, And Women-owned Business
        AR-24: Health Insurance Portability and Accountability Act Requirements
        AR-25: Data Management and Access
        AR-26: National Historic Preservation Act of 1966
        AR-29: Compliance with EO13513, “Federal Leadership on Reducing Text Messaging
        while Driving”, October 1, 2009
        AR-30: Information Letter 10-006, - Compliance with Section 508 of the Rehabilitation
        Act of 1973
        AR-32: Enacted General Provisions
        AR-34: Language Access for Persons with Limited English Proficiency
        AR-37: Prohibition on certain telecommunications and video surveillance services or
        equipment for all awards issued on or after August 13, 2020

 Recipients are also expected to adhere to administrative requirements relating to
 nondiscrimination contained in Standard Form 424B (Rev. 7-97): Assurances - Non-
 Construction Programs, prescribed by OMB Circular A-102.
 The full text of the Uniform Administrative Requirements, Cost Principles, and Audit
 Requirements for HHS Awards, 45 CFR 75, can be found at: https://www.ecfr.gov/cgi-bin/text-
 idx?node=pt45.1.75


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   Quarterly expenditure and progress reports will be submitted via the Research Electronic
   Data Capture, or otherwise known as REDCap. CDC will provide training and technical
   assistance for recipients on REDCap post-award.

 a. Recipient Evaluation and Performance Measurement Plan (required)
 With support from CDC, recipients must elaborate on their initial applicant evaluation and
 performance measurement plan. This plan must be no more than 20 pages; recipients must
 submit the plan 6 months into the award. HHS/CDC will review and approve the recipient’s
 monitoring and evaluation plan to ensure that it is appropriate for the activities to be undertaken
 as part of the agreement, for compliance with the monitoring and evaluation guidance established
 by HHS/CDC, or other guidance otherwise applicable to this Agreement.

 Recipient Evaluation and Performance Measurement Plan (required): This plan should provide
 additional detail on the following:

 Performance Measurement

 • Performance measures and targets
 • The frequency that performance data are to be collected.
 • How performance data will be reported.
 • How quality of performance data will be assured.
 • How performance measurement will yield findings to demonstrate progress towards
 achieving NOFO goals (e.g., reaching target populations or achieving expected outcomes).
 • Dissemination channels and audiences.
 • Other information requested as determined by the CDC program.

 Evaluation

 • The types of evaluations to be conducted (e.g. process or outcome evaluations).
 • The frequency that evaluations will be conducted.
 • How evaluation reports will be published on a publically available website.
 • How evaluation findings will be used to ensure continuous quality and program improvement.
 • How evaluation will yield findings to demonstrate the value of the NOFO (e.g., effect on
 improving public health outcomes, effectiveness of NOFO, cost-effectiveness or cost-benefit).
 • Dissemination channels and audiences.

 HHS/CDC or its designee will also undertake monitoring and evaluation of the defined activities
 within the agreement. The recipient must ensure reasonable access by HHS/CDC or its designee
 to all necessary sites, documentation, individuals and information to monitor, evaluate and verify
 the appropriate implementation the activities and use of HHS/CDC funding under this
 Agreement.
 b. Annual Performance Report (APR) (required)


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 The recipient must submit the APR via www.Grantsolutions.gov no later than 120 days prior to
 the end of the budget period. This report must not exceed 45 pages excluding administrative
 reporting. Attachments are not allowed, but web links are allowed.
 This report must include the following:
        Performance Measures: Recipients must report on performance measures for each
        budget period and update measures, if needed.
        Evaluation Results: Recipients must report evaluation results for the work completed to
        date (including findings from process or outcome evaluations).
        Work Plan: Recipients must update work plan each budget period to reflect any changes
        in period of performance outcomes, activities, timeline, etc.
        Successes
            o Recipients must report progress on completing activities and progress towards
              achieving the period of performance outcomes described in the logic model and
              work plan.
            o Recipients must describe any additional successes (e.g. identified through
              evaluation results or lessons learned) achieved in the past year.
            o Recipients must describe success stories.
        Challenges
            o Recipients must describe any challenges that hindered or might hinder their
              ability to complete the work plan activities and achieve the period of performance
              outcomes.
            o Recipients must describe any additional challenges (e.g., identified through
              evaluation results or lessons learned) encountered in the past year.
        CDC Program Support to Recipients
            o Recipients must describe how CDC could help them overcome challenges to
              complete activities in the work plan and achieving period of performance
              outcomes.
        Administrative Reporting (No page limit)
            o SF-424A Budget Information-Non-Construction Programs.
            o Budget Narrative – Must use the format outlined in "Content and Form of
              Application Submission, Budget Narrative" section.
            o Indirect Cost Rate Agreement.
 The recipients must submit the Annual Performance Report via www.Grantsolutions.gov no
 later than 120 days prior to the end of the budget period.
 c. Performance Measure Reporting (optional)


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 CDC programs may require more frequent reporting of performance measures than annually in
 the APR. If this is the case, CDC programs must specify reporting frequency, data fields, and
 format for recipients at the beginning of the award period.
 d. Federal Financial Reporting (FFR) (required)
 The annual FFR form (SF-425) is required and must be submitted 90 days after the end of the
 budget period through the Payment Management System (PMS). The report must include only
 those funds authorized and disbursed during the timeframe covered by the report. The final FFR
 must indicate the exact balance of unobligated funds, and may not reflect any unliquidated
 obligations. There must be no discrepancies between the final FFR expenditure data and the
 Payment Management System’s (PMS) cash transaction data. Failure to submit the required
 information by the due date may adversely affect the future funding of the project. If the
 information cannot be provided by the due date, recipients are required to submit a letter of
 explanation to OGS and include the date by which the Grants Officer will receive information.
 e. Final Performance and Financial Report (required)
 The Final Performance Report is due 90 days after the end of the period of performance. The
 Final FFR is due 90 days after the end of the period of performance and must be submitted
 through the Payment Management System (PMS). CDC programs must indicate that this report
 should not exceed 40 pages. This report covers the entire period of performance and can include
 information previously reported in APRs. At a minimum, this report must include the following:
        Performance Measures – Recipients must report final performance data for all process
        and outcome performance measures.
        Evaluation Results – Recipients must report final evaluation results for the period of
        performance for any evaluations conducted.
        Impact/Results/Success Stories – Recipients must use their performance measure results
        and their evaluation findings to describe the effects or results of the work completed over
        the project period, and can include some success stories.
        A final Data Management Plan that includes the location of the data collected during the
        funded period, for example, repository name and link data set(s)
        Additional forms as described in the Notice of Award (e.g., Equipment Inventory Report,
        Final Invention Statement).
 4. Federal Funding Accountability and Transparency Act of 2006 (FFATA)
 Federal Funding Accountability and Transparency Act of 2006 (FFATA), P.L. 109–282, as
 amended by section 6202 of P.L. 110–252 requires full disclosure of all entities and
 organizations receiving Federal funds including awards, contracts, loans, other assistance, and
 payments through a single publicly accessible Web site, http://www.USASpending.gov.
 Compliance with this law is primarily the responsibility of the Federal agency. However, two
 elements of the law require information to be collected and reported by applicants: 1)
 information on executive compensation when not already reported through the SAM, and 2)
 similar information on all sub-awards/subcontracts/consortiums over $25,000.
 For the full text of the requirements under the FFATA and HHS guidelines, go to:


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        https://www.gpo.gov/fdsys/pkg/PLAW-109publ282/pdf/PLAW-109publ282.pdf,
        https://www. fsrs.gov/documents /ffata_legislation_ 110_252.pdf
        http://www.hhs.gov/grants/grants/grants-policies-regulations/index.html#FFATA.
 5. Reporting of Foreign Taxes (International/Foreign projects only)
 A. Valued Added Tax (VAT) and Customs Duties – Customs and import duties, consular fees,
 customs surtax, valued added taxes, and other related charges are hereby authorized as an
 allowable cost for costs incurred for non-host governmental entities operating where no
 applicable tax exemption exists. This waiver does not apply to countries where a bilateral
 agreement (or similar legal document) is already in place providing applicable tax exemptions
 and it is not applicable to Ministries of Health. Successful applicants will receive information on
 VAT requirements via their Notice of Award.

 B. The U.S. Department of State requires that agencies collect and report information on the
 amount of taxes assessed, reimbursed and not reimbursed by a foreign government against
 commodities financed with funds appropriated by the U.S. Department of State, Foreign
 Operations and Related Programs Appropriations Act (SFOAA) (“United States foreign
 assistance funds”). Outlined below are the specifics of this requirement:

 1) Annual Report: The recipient must submit a report on or before November 16 for each foreign
 country on the amount of foreign taxes charged, as of September 30 of the same year, by a
 foreign government on commodity purchase transactions valued at 500 USD or more financed
 with United States foreign assistance funds under this grant during the prior United States fiscal
 year (October 1 – September 30), and the amount reimbursed and unreimbursed by the foreign
 government. [Reports are required even if the recipient did not pay any taxes during the reporting
 period.]

 2) Quarterly Report: The recipient must quarterly submit a report on the amount of foreign taxes
 charged by a foreign government on commodity purchase transactions valued at 500 USD or
 more financed with United States foreign assistance funds under this grant. This report shall be
 submitted no later than two weeks following the end of each quarter: April 15, July 15, October
 15 and January 15.

 3) Terms: For purposes of this clause:
 “Commodity” means any material, article, supplies, goods, or equipment;
 “Foreign government” includes any foreign government entity;
 “Foreign taxes” means value-added taxes and custom duties assessed by a foreign government
 on a commodity. It does not include foreign sales taxes.

 4) Where: Submit the reports to the Director and Deputy Director of the CDC office in the
 country(ies) in which you are carrying out the activities associated with this cooperative
 agreement. In countries where there is no CDC office, send reports to VATreporting@cdc.gov.

 5) Contents of Reports: The reports must contain:



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 a. recipient name;
 b. contact name with phone, fax, and e-mail;
 c. agreement number(s) if reporting by agreement(s);
 d. reporting period;
 e. amount of foreign taxes assessed by each foreign government;
 f. amount of any foreign taxes reimbursed by each foreign government;
 g. amount of foreign taxes unreimbursed by each foreign government.

 6) Subagreements. The recipient must include this reporting requirement in all applicable
 subgrants and other subagreements.


 6. Termination
 CDC may impose other enforcement actions in accordance with 45 CFR 75.371- Remedies for
 Noncompliance, as appropriate.
 The Federal award may be terminated in whole or in part as follows:
 (1) By the HHS awarding agency or pass-through entity, if the non-Federal entity fails to comply
 with the terms and conditions of the award;
 (2) By the HHS awarding agency or pass-through entity for cause;
 (3) By the HHS awarding agency or pass-through entity with the consent of the non-Federal
 entity, in which case the two parties must agree upon the termination conditions, including the
 effective date and, in the case of partial termination, the portion to be terminated; or
 (4) By the non-Federal entity upon sending to the HHS awarding agency or pass-through entity
 written notification setting forth the reasons for such termination, the effective date, and, in the
 case of partial termination, the portion to be terminated. However, if the HHS awarding agency
 or pass-through entity determines in the case of partial termination that the reduced or modified
 portion of the Federal award or subaward will not accomplish the purposes for which the Federal
 award was made, the HHS awarding agency or pass-through entity may terminate the Federal
 award in its entirety.
 G. Agency Contacts
 CDC encourages inquiries concerning this notice of funding opportunity.
 Program Office Contact
 For programmatic technical assistance, contact:
 First Name:

 Last Name:

 Project Officer
 Department of Health and Human Services
 Centers for Disease Control and Prevention
 Address:

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 Department of Health and Human Services
 Centers for Disease Control and Prevention
 Center for State, Tribal, Local, and Territorial Support
 Division of Program and Partnership Services



 Telephone:
 Email:
                    @cdc.gov
 Grants Staff Contact
 For financial, awards management, or budget assistance, contact:
 First Name:

 Last Name:

 Grants Management Specialist
 Department of Health and Human Services
 Office of Grants Services
 Address:
  Department of Health and Human Services
  Centers for Disease Control and Prevention
  Office of Grants Services



 Telephone:

 Email:
      @cdc.gov
 For assistance with submission difficulties related to www.grants.gov, contact the Contact
 Center by phone at

 Hours of Operation: 24 hours a day, 7 days a week, except on federal holidays.

 CDC Telecommunications for persons with hearing loss is available at: TTY 1-888-232-6348
 H. Other Information
 Following is a list of acceptable attachments applicants can upload as PDF files as part of their
 application at www.grants.gov. Applicants may not attach documents other than those listed; if
 other documents are attached, applications will not be reviewed.
        Project Abstract
        Project Narrative


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        Budget Narrative
        CDC Assurances and Certifications
        Report on Programmatic, Budgetary and Commitment Overlap
        Table of Contents for Entire Submission
 For international NOFOs:
        SF424
        SF424A
        Funding Preference Deliverables
 Optional attachments, as determined by CDC programs:
 References

 [1]
 al. Engaging With Communities — Lessons (Re)Learned From COVID-19. Prev Chronic Dis
 2020;17:200250. https://www.cdc.gov/pcd/issues/2020/20_0250.htm

 2] US Centers for Disease Control and Prevention. COVID-19 cases, data, and surveillance:
 hospitalization and death by race/ethnicity. Accessed October 12, 2020.
 https://www.cdc.gov/coronavirus/2019-ncov/covid-data/investigations-discovery/hospitalization-
 death-by-race-ethnicity.html

 [3]                                                     COVID-19 racial disparities in testing,
 infection, hospitalization, and death: analysis of Epic data. Published September 16, 2020.
 Accessed October 12, 2020. https://www.kff.org/coronavirus-covid-19/issue-brief/covid-19-
 racial-disparities-testing-infection-hospitalization-death-analysis-epic-patient-data/

 [4]                                      The association of social determinants of health with
 COVID-19
 mortality in rural and urban counties. Journal of Rural Health. 2021;1-9.
 https://doi.org/10.1111/jrh.12557


 I. Glossary
 Activities: The actual events or actions that take place as a part of the program.
 Administrative and National Policy Requirements, Additional Requirements
 (ARs): Administrative requirements found in 45 CFR Part 75 and other requirements mandated
 by statute or CDC policy. All ARs are listed in the Template for CDC programs. CDC programs
 must indicate which ARs are relevant to the NOFO; recipients must comply with the ARs listed
 in the NOFO. To view brief descriptions of relevant provisions, see http:// www.cdc.gov/ grants/
 additional requirements/ index.html. Note that 2 CFR 200 supersedes the administrative
 requirements (A-110 & A-102), cost principles (A-21, A-87 & A-122) and audit requirements
 (A-50, A-89 & A-133).

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 Approved but Unfunded: Approved but unfunded refers to applications recommended for
 approval during the objective review process; however, they were not recommended for funding
 by the program office and/or the grants management office.
 Assistance Listings: A government-wide compendium published by the General Services
 Administration (available on-line in searchable format as well as in printable format as a .pdf
 file) that describes domestic assistance programs administered by the Federal Government.
 Assistance Listings Number: A unique number assigned to each program and NOFO
 throughout its lifecycle that enables data and funding tracking and transparency
 Award: Financial assistance that provides support or stimulation to accomplish a public purpose.
 Awards include grants and other agreements (e.g., cooperative agreements) in the form of
 money, or property in lieu of money, by the federal government to an eligible applicant.
 Budget Period or Budget Year: The duration of each individual funding period within the
 project period. Traditionally, budget periods are 12 months or 1 year.
 Carryover: Unobligated federal funds remaining at the end of any budget period that, with the
 approval of the GMO or under an automatic authority, may be carried over to another budget
 period to cover allowable costs of that budget period either as an offset or additional
 authorization. Obligated but liquidated funds are not considered carryover.
 CDC Assurances and Certifications: Standard government-wide grant application forms.
 Competing Continuation Award: A financial assistance mechanism that adds funds to a grant
 and adds one or more budget periods to the previously established period of performance (i.e.,
 extends the “life” of the award).
 Continuous Quality Improvement: A system that seeks to improve the provision of services
 with an emphasis on future results.
 Contracts: An award instrument used to acquire (by purchase, lease, or barter) property or
 services for the direct benefit or use of the Federal Government.
 Cooperative Agreement: A financial assistance award with the same kind of interagency
 relationship as a grant except that it provides for substantial involvement by the federal agency
 funding the award. Substantial involvement means that the recipient can expect federal
 programmatic collaboration or participation in carrying out the effort under the award.
 Cost Sharing or Matching: Refers to program costs not borne by the Federal Government but
 by the recipients. It may include the value of allowable third-party, in-kind contributions, as well
 as expenditures by the recipient.
 Direct Assistance: A financial assistance mechanism, which must be specifically authorized by
 statute, whereby goods or services are provided to recipients in lieu of cash. DA generally
 involves the assignment of federal personnel or the provision of equipment or supplies, such as
 vaccines. DA is primarily used to support payroll and travel expenses of CDC employees
 assigned to state, tribal, local, and territorial (STLT) health agencies that are recipients of grants
 and cooperative agreements. Most legislative authorities that provide financial assistance to
 STLT health agencies allow for the use of DA. http:// www.cdc.gov /grants
 /additionalrequirements /index.html.

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 DUNS: The Dun and Bradstreet (D&B) Data Universal Numbering System (DUNS) number is a
 nine-digit number assigned by Dun and Bradstreet Information Services. When applying for
 Federal awards or cooperative agreements, all applicant organizations must obtain a DUNS
 number as the Universal Identifier. DUNS number assignment is free. If requested by telephone,
 a DUNS number will be provided immediately at no charge. If requested via the Internet,
 obtaining a DUNS number may take one to two days at no charge. If an organization does not
 know its DUNS number or needs to register for one, visit Dun & Bradstreet
 at http://fedgov.dnb.com/ webform/displayHomePage.do.
 Evaluation (program evaluation): The systematic collection of information about the activities,
 characteristics, and outcomes of programs (which may include interventions, policies, and
 specific projects) to make judgments about that program, improve program effectiveness, and/or
 inform decisions about future program development.
 Evaluation Plan: A written document describing the overall approach that will be used to guide
 an evaluation, including why the evaluation is being conducted, how the findings will likely be
 used, and the design and data collection sources and methods. The plan specifies what will be
 done, how it will be done, who will do it, and when it will be done. The NOFO evaluation plan is
 used to describe how the recipient and/or CDC will determine whether activities are
 implemented appropriately and outcomes are achieved.
 Federal Funding Accountability and Transparency Act of 2006 (FFATA): Requires that
 information about federal awards, including awards, contracts, loans, and other assistance and
 payments, be available to the public on a single website at www.USAspending.gov.
 Fiscal Year: The year for which budget dollars are allocated annually. The federal fiscal year
 starts October 1 and ends September 30.
 Grant: A legal instrument used by the federal government to transfer anything of value to a
 recipient for public support or stimulation authorized by statute. Financial assistance may be
 money or property. The definition does not include a federal procurement subject to the Federal
 Acquisition Regulation; technical assistance (which provides services instead of money); or
 assistance in the form of revenue sharing, loans, loan guarantees, interest subsidies, insurance, or
 direct payments of any kind to a person or persons. The main difference between a grant and a
 cooperative agreement is that in a grant there is no anticipated substantial programmatic
 involvement by the federal government under the award.
 Grants.gov: A "storefront" web portal for electronic data collection (forms and reports) for
 federal grant-making agencies at www.grants.gov.
 Grants Management Officer (GMO): The individual designated to serve as the HHS official
 responsible for the business management aspects of a particular grant(s) or cooperative
 agreement(s). The GMO serves as the counterpart to the business officer of the recipient
 organization. In this capacity, the GMO is responsible for all business management matters
 associated with the review, negotiation, award, and administration of grants and interprets grants
 administration policies and provisions. The GMO works closely with the program or project
 officer who is responsible for the scientific, technical, and programmatic aspects of the grant.
 Grants Management Specialist (GMS): A federal staff member who oversees the business and
 other non-programmatic aspects of one or more grants and/or cooperative agreements. These

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 activities include, but are not limited to, evaluating grant applications for administrative content
 and compliance with regulations and guidelines, negotiating grants, providing consultation and
 technical assistance to recipients, post-award administration and closing out grants.
 Health Disparities: Differences in health outcomes and their determinants among segments of
 the population as defined by social, demographic, environmental, or geographic category.
 Health Equity: Striving for the highest possible standard of health for all people and giving
 special attention to the needs of those at greatest risk of poor health, based on social conditions.
 Health Inequities: Systematic, unfair, and avoidable differences in health outcomes and their
 determinants between segments of the population, such as by socioeconomic status (SES),
 demographics, or geography.
 Healthy People 2030: National health objectives aimed at improving the health of all Americans
 by encouraging collaboration across sectors, guiding people toward making informed health
 decisions, and measuring the effects of prevention activities.
 Inclusion: Both the meaningful involvement of a community’s members in all stages of the
 program process and the maximum involvement of the target population that the intervention
 will benefit. Inclusion ensures that the views, perspectives, and needs of affected communities,
 care providers, and key partners are considered.
 Indirect Costs: Costs that are incurred for common or joint objectives and not readily and
 specifically identifiable with a particular sponsored project, program, or activity; nevertheless,
 these costs are necessary to the operations of the organization. For example, the costs of
 operating and maintaining facilities, depreciation, and administrative salaries generally are
 considered indirect costs.
 Intergovernmental Review: Executive Order 12372 governs applications subject to
 Intergovernmental Review of Federal Programs. This order sets up a system for state and local
 governmental review of proposed federal assistance applications. Contact the state single point
 of contact (SPOC) to alert the SPOC to prospective applications and to receive instructions on
 the State’s process. Visit the following web address to get the current SPOC list:
 https://www.whitehouse.gov/wp-content/uploads/2017/11/Intergovernmental_-Review-
 _SPOC_01_2018_OFFM.pdf.
 Letter of Intent (LOI): A preliminary, non-binding indication of an organization’s intent to
 submit an application.
 Lobbying: Direct lobbying includes any attempt to influence legislation, appropriations,
 regulations, administrative actions, executive orders (legislation or other orders), or other similar
 deliberations at any level of government through communication that directly expresses a view
 on proposed or pending legislation or other orders, and which is directed to staff members or
 other employees of a legislative body, government officials, or employees who participate in
 formulating legislation or other orders. Grass roots lobbying includes efforts directed at inducing
 or encouraging members of the public to contact their elected representatives at the federal, state,
 or local levels to urge support of, or opposition to, proposed or pending legislative proposals.
 Logic Model: A visual representation showing the sequence of related events connecting the
 activities of a program with the programs’ desired outcomes and results.

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 Maintenance of Effort: A requirement contained in authorizing legislation, or applicable
 regulations that a recipient must agree to contribute and maintain a specified level of financial
 effort from its own resources or other non-government sources to be eligible to receive federal
 grant funds. This requirement is typically given in terms of meeting a previous base-year dollar
 amount.
 Memorandum of Understanding (MOU) or Memorandum of Agreement
 (MOA): Document that describes a bilateral or multilateral agreement between parties
 expressing a convergence of will between the parties, indicating an intended common line of
 action. It is often used in cases where the parties either do not imply a legal commitment or
 cannot create a legally enforceable agreement.
 Nonprofit Organization: Any corporation, trust, association, cooperative, or other organization
 that is operated primarily for scientific, educational, service, charitable, or similar purposes in the
 public interest; is not organized for profit; and uses net proceeds to maintain, improve, or expand
 the operations of the organization. Nonprofit organizations include institutions of higher
 educations, hospitals, and tribal organizations (that is, Indian entities other than federally
 recognized Indian tribal governments).
 Notice of Award (NoA): The official document, signed (or the electronic equivalent of
 signature) by a Grants Management Officer that: (1) notifies the recipient of the award of a grant;
 (2) contains or references all the terms and conditions of the grant and Federal funding limits and
 obligations; and (3) provides the documentary basis for recording the obligation of Federal funds
 in the HHS accounting system.
 Objective Review: A process that involves the thorough and consistent examination of
 applications based on an unbiased evaluation of scientific or technical merit or other relevant
 aspects of the proposal. The review is intended to provide advice to the persons responsible for
 making award decisions.
 Outcome: The results of program operations or activities; the effects triggered by the program.
 For example, increased knowledge, changed attitudes or beliefs, reduced tobacco use, reduced
 morbidity and mortality.
 Performance Measurement: The ongoing monitoring and reporting of program
 accomplishments, particularly progress toward pre-established goals, typically conducted by
 program or agency management. Performance measurement may address the type or level of
 program activities conducted (process), the direct products and services delivered by a program
 (outputs), or the results of those products and services (outcomes). A “program” may be any
 activity, project, function, or policy that has an identifiable purpose or set of objectives.
 Period of performance –formerly known as the project period - : The time during which the
 recipient may incur obligations to carry out the work authorized under the Federal award. The
 start and end dates of the period of performance must be included in the Federal award.
 Period of Performance Outcome: An outcome that will occur by the end of the NOFO's
 funding period
 Plain Writing Act of 2010: The Plain Writing Act of 2010 requires that federal agencies use
 clear communication that the public can understand and use. NOFOs must be written in clear,


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 consistent language so that any reader can understand expectations and intended outcomes of the
 funded program. CDC programs should use NOFO plain writing tips when writing NOFOs.
 Program Strategies: Strategies are groupings of related activities, usually expressed as general
 headers (e.g., Partnerships, Assessment, Policy) or as brief statements (e.g., Form partnerships,
 Conduct assessments, Formulate policies).
 Program Official: Person responsible for developing the NOFO; can be either a project officer,
 program manager, branch chief, division leader, policy official, center leader, or similar staff
 member.
 Public Health Accreditation Board (PHAB): A nonprofit organization that works to promote
 and protect the health of the public by advancing the quality and performance of public health
 departments in the U.S. through national public health department
 accreditation http://www.phaboard.org.
 Social Determinants of Health: Conditions in the environments in which people are born, live,
 learn, work, play, worship, and age that affect a wide range of health, functioning, and quality-
 of-life outcomes and risks.
 Statute: An act of the legislature; a particular law enacted and established by the will of the
 legislative department of government, expressed with the requisite formalities. In foreign or civil
 law any particular municipal law or usage, though resting for its authority on judicial decisions,
 or the practice of nations.
 Statutory Authority: Authority provided by legal statute that establishes a federal financial
 assistance program or award.
 System for Award Management (SAM): The primary vendor database for the U.S. federal
 government. SAM validates applicant information and electronically shares secure and encrypted
 data with federal agencies' finance offices to facilitate paperless payments through Electronic
 Funds Transfer (EFT). SAM stores organizational information, allowing www.grants.gov to
 verify identity and pre-fill organizational information on grant applications.
 Technical Assistance: Advice, assistance, or training pertaining to program development,
 implementation, maintenance, or evaluation that is provided by the funding agency.
 Work Plan: The summary of period of performance outcomes, strategies and activities,
 personnel and/or partners who will complete the activities, and the timeline for completion. The
 work plan will outline the details of all necessary activities that will be supported through the
 approved budget.
 NOFO-specific Glossary and Acronyms
 Health equity (2) is achieved when every person has the opportunity to “attain his or her full
 health potential” and no one is “disadvantaged from achieving this potential because of social
 position or other socially determined circumstances.”

 Underserved communities refers to populations sharing a particular characteristic, as well as
 geographic communities, that have been systematically denied a full opportunity to participate in
 aspects of economic, social, and civic life. Populations can include but are not limited to: African
 American, Latino, and Indigenous and Native American persons, Asian Americans and Pacific

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 Islanders and other persons of color; members of religious minorities; lesbian, gay, bisexual,
 transgender, and queer (LGBTQ+) persons; persons with disabilities; persons who live in rural
 communities; and persons otherwise adversely impacted by persistent poverty or
 inequality (Definition modified from the Executive Order On Advancing Racial Equity and
 Support for Underserved Communities Through the Federal Government, January 20, 2021).




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                                  AWARD ATTACHMENTS
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FUNDING RESTRICTIONS AND LIMITATIONS
Cost Limitations as stated in Appropriations Acts. Recipients must follow applicable fiscal
year appropriations law in effect at the time of award. See AR-32 Appropriations Act, General
Requirements: https://www.cdc.gov/grants/additional-requirements/ar-32.html.

Though Recipients are required to comply with all applicable appropriations restrictions,
please find below specific ones of note. CDC notes that the cited section for each below
provision may change annually.
  A. Cap on Salaries (Division H, Title II, General Provisions, Sec. 202): None of the funds
     appropriated in this title shall be used to pay the salary of an individual, through a grant or
     other extramural mechanism, at a rate in excess of Executive Level II.

      Note: The salary rate limitation does not restrict the salary that an organization may pay an
      individual working under an HHS contract or order; it merely limits the portion of that salary that
      may be paid with federal funds.

  B. Gun Control Prohibition (Div. H, Title II, Sec. 210): None of the funds made available in this title
     may be used, in whole or in part, to advocate or promote gun control.

  C. Lobbying Restrictions (Div. H, Title V, Sec. 503):
  •   503(a): No part of any appropriation contained in this Act or transferred pursuant to section
      4002 of Public Law 111-148 shall be used, other than for normal and recognized executive-
      legislative relationships, for publicity or propaganda purposes, for the preparation, distribution,
      or use of any kit, pamphlet, booklet, publication, electronic communication, radio, television, or
      video presentation designed to support or defeat the enactment of legislation before the
      Congress or any State or local legislature or legislative body, except in presentation to the
      Congress or any State or local legislature itself, or designed to support or defeat any proposed
      or pending regulation, administrative action, or order issued by the executive branch of any
      State or local government itself.
  •   503(b): No part of any appropriation contained in this Act or transferred pursuant to section
      4002 of Public Law 111-148 shall be used to pay the salary or expenses of any grant or
      contract recipient, or agent acting for such recipient, related to any activity designed to
      influence the enactment of legislation, appropriations, regulation, administrative action, or
      Executive order proposed or pending before the Congress or any State government, State
      legislature or local legislature or legislative body, other than for normal and recognized
      executive-legislative relationships or participation by an agency or officer of a State, local or
      tribal government in policymaking and administrative processes within the executive branch of
      that government.
  •   503(c): The prohibitions in subsections (a) and (b) shall include any activity to advocate or
      promote any proposed, pending or future federal, state or local tax increase, or any
      proposed, pending, or future requirement or restriction on any legal consumer product,
      including its sale of marketing, including but not limited to the advocacy or promotion of gun
      control.


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  For additional information, see Additional Requirement 12 at
  https://www.cdc.gov/grants/additional-requirements/ar-12.html.

  D. Needle Exchange (Div. H, Title V, Sec. 520): Notwithstanding any other provision of this Act,
     no funds appropriated in this Act shall be used to carry out any program of distributing sterile
     needles or syringes for the hypodermic injection of any illegal drug.

  E. Blocking access to pornography (Div. H, Title V, Sec. 521): (a) None of the funds made
     available in this Act may be used to maintain or establish a computer network unless such
     network blocks the viewing, downloading, and exchanging of pornography; (b) Nothing in
     subsection (a) shall limit the use of funds necessary for any federal, state, tribal, or local law
     enforcement agency or any other entity carrying out criminal investigations, prosecution, or
     adjudication activities.

Prohibition on certain telecommunications and video surveillance services or equipment (Pub.
L. 115-232, section 889): For all new, non-competing continuation, renewal or supplemental awards
issued on or after August 13, 2020, recipients and subrecipients are prohibited from obligating or
expending grant funds (to include direct and indirect expenditures as well as cost share and program
funds) to:

        1. Procure or obtain,
        2. Extend or renew a contract to procure or obtain; or
        3. Enter into contract (or extend or renew contract) to procure or obtain equipment, services, or
           systems that use covered telecommunications equipment or services as a substantial or
           essential component of any system, or as critical technology as part of any system. As
           described in Pub. L. 115-232, section 889, covered telecommunications equipment is
           telecommunications equipment produced by Huawei Technologies Company or ZTE
           Corporation (or any subsidiary or affiliate of such entities).
               i.  For the purpose of public safety, security of government facilities, physical security
                   surveillance of critical infrastructure, and other national security purposes, video
                   surveillance and telecommunications equipment produced by Hytera
                   Communications Corporation, Hangzhou Hikvision Digital Technology Company, or
                   Dahua Technology Company (or any subsidiary or affiliate of such entities).
              ii.  Telecommunications or video surveillance services provided by such entities or
                   using such equipment.
             iii.  Telecommunications or video surveillance equipment or services produced or
                   provided by an entity that the Secretary of Defense, in consultation with the Director
                   of the National Intelligence or the Director of the Federal Bureau of Investigation,
                   reasonably believes to be an entity owned or controlled by, or otherwise, connected
                   to the government of a covered foreign country.

President's Emergency Plan for AIDS Relief (PEPFAR) funding is exempt from the prohibition under
Pub. L. 115-232, section 889 until September 30, 2022. During the exemption period, PEPFAR
recipients are expected to work toward implementation of the requirements.

Cancel Year: 31 U.S.C. Part 1552(a) Procedure for Appropriation Accounts Available for Definite
Periods states the following: On September 30th of the 5th fiscal year after the period of availability
for obligation of a fixed appropriation account ends, the account shall be closed and any remaining
balances (whether obligated or unobligated) in the account shall be canceled and thereafter shall
not be available for obligation or expenditure for any purpose.

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REPORTING REQUIREMENTS
Annual Federal Financial Report (FFR, SF-425): The Annual Federal Financial Report (FFR)
SF-425 is required and must be submitted no later than 90 days after the end of the budget
period in the Payment Management System.

Additional guidance on submission of Federal Financial Reports can be found at
https://www.cdc.gov/grants/documents/change-in-federal-reporting-fy-2021-recipients.pdf.

If more frequent reporting is required, the Notice of Award terms and conditions will explicitly state
the reporting requirement.

Annual Performance Progress and Monitoring Reporting: The Annual Performance Progress
and Monitoring Report (PPMR) is due no later than 120 days prior to the end of the budget period
and serves as the continuation application for the follow-on budget period. Submission instructions,
due date, and format will be included in the guidance from the assigned GMO/GMS via
www.grantsolutions.gov.

Any change to the existing information collection noted in the award terms and conditions will be
subject to review and approval by the Office of Management and Budget (OMB) under the
Paperwork Reduction Act.


Data Management Plan: CDC requires recipients for projects that involve the collection or
generation of data with federal funds to develop, submit and comply with a Data Management
Plan (DMP) for each collection or generation of public health data undertaken as part of the
award and, to the extent consistent with law and appropriate, provide access to and
archiving/long-term preservation of collected or generated data. Additional information on the
Data Management and Access requirements can be found at
https://www.cdc.gov/grants/additional-requirements/ar-25.html.

Audit Requirement Domestic Organizations (including US-based organizations implementing
projects with foreign components): An organization that expends $750,000 or more in a fiscal year
in federal awards shall have a single or program-specific audit conducted for that year in
accordance with the provisions of 45 CFR Part 75. The audit period is an organization’s fiscal year.
The audit must be completed along with a data collection form (SF-SAC), and the reporting
package shall be submitted within the earlier of 30 days after receipt of the auditor’s report(s), or
nine (9) months after the end of the audit period. The audit report must be sent to:

Federal Audit Clearing House Internet Data Entry System Electronic Submission:
https://harvester.census.gov/facides/(S(0vkw1zaelyzjibnahocga5i0))/account/login.aspx

AND

Office of Financial Resources, Risk Management and Internal Control
                                     @cdc.gov.
Audit Requirement Foreign Organizations: An organization that expends $300,000 or more in a

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fiscal year on its federal awards must have a single or program-specific audit conducted for that
year. The audit period is an organization’s fiscal year. The auditor shall be a U.S.-based Certified
Public Accountant firm, the foreign government's Supreme Audit Institution or equivalent, or an
audit firm endorsed by the U.S. Agency for International Development's Office of Inspector General.
The audit must be completed in English and in US dollars, and submitted within the earlier of 30
days after receipt of the auditor’s report(s), or nine (9) months after the end of the audit period. The
audit report must be sent to the Office of Financial Resources, Risk Management and Internal
Control Unit's Audit Resolution Team (ART) at                               @cdc.gov. After receipt of
the audit report, CDC will resolve findings by issuing Final Management Determination Letters.

Domestic and Foreign organizations: Audit requirements for Subrecipients to whom 45 CFR 75
Subpart F applies: The recipient must ensure that the subrecipients receiving CDC funds also meet
these requirements. The recipient must also ensure to take appropriate corrective action within six
months after receipt of the subrecipient audit report in instances of non-compliance with applicable
federal law and regulations (45 CFR 75 Subpart F and HHS Grants Policy Statement). The
recipient may consider whether subrecipient audits necessitate adjustment of the recipient's own
accounting records. If a subrecipient is not required to have a program-specific audit, the recipient
is still required to perform adequate monitoring of subrecipient activities. The recipient shall require
each subrecipient to permit the independent auditor access to the subrecipient's records and
financial statements. The recipient must include this requirement in all subrecipient contracts.

Required Disclosures for Federal Awardee Performance and Integrity Information System
(FAPIIS): Consistent with 45 CFR 75.113, applicants and recipients must disclose in a timely
manner, in writing to the CDC, with a copy to the HHS Office of Inspector General (OIG), all
information related to violations of federal criminal law involving fraud, bribery, or gratuity violations
potentially affecting the federal award. Subrecipients must disclose, in a timely manner in writing to
the prime recipient (pass through entity) and the HHS OIG, all information related to violations of
federal criminal law involving fraud, bribery, or gratuity violations potentially affecting the federal
award. Disclosures must be sent in writing to the assigned GMS/GMO identified in the NOA, and to
the HHS OIG at the following address:

    U.S. Department of Health and Human Services
    Office of the Inspector General
    ATTN: Mandatory Grant Disclosures, Intake Coordinator




Fax:              (Include “Mandatory Grant Disclosures” in subject line) or Email:
MandatoryGranteeDisclosures@oig.hhs.gov

Recipients must include this mandatory disclosure requirement in all subawards and contracts
under this award.

Failure to make required disclosures can result in any of the remedies described in 45 CFR
75.371. Remedies for noncompliance, including suspension or debarment (See 2 CFR parts 180
and 376, and 31 U.S.C. 3321).

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CDC is required to report any termination of a federal award prior to the end of the period of
performance due to material failure to comply with the terms and conditions of this award in the
OMB-designated integrity and performance system accessible through SAM (currently FAPIIS)
(45 CFR 75.372(b)). CDC must also notify the recipient if the federal award is terminated for
failure to comply with the federal statutes, regulations, or terms and conditions of the federal
award (45 CFR 75.373(b)).
  1. General Reporting Requirement
  If the total value of currently active grants, cooperative agreements, and procurement contracts
  from all federal awarding agencies exceeds $10,000,000 for any period of time during the period
  of performance of this federal award, the recipient must maintain the currency of information
  reported to the System for Award Management (SAM) and made available in the designated
  integrity and performance system (currently the Federal Awardee Performance and Integrity
  Information System (FAPIIS)) about civil, criminal, or administrative proceedings described in
  section 2 of this award term and condition. This is a statutory requirement under section 872 of
  Public Law 110-417, as amended (41 U.S.C. 2313). As required by section 3010 of Public Law
  111-212, all information posted in the designated integrity and performance system on or after
  April 15, 2011, except past performance reviews required for federal procurement contracts, will
  be publicly available.
  2. Proceedings About Which You Must Report
       Submit the information required about each proceeding that:
             a. Is in connection with the award or performance of a grant, cooperative agreement,
                or procurement contract from the federal government;
             b. Reached its final disposition during the most recent five-year period; and
             c. If one of the following:
                  (1) A criminal proceeding that resulted in a conviction, as defined in paragraph 5 of
                      this award term and condition;
                  (2) A civil proceeding that resulted in a finding of fault and liability and payment of a
                      monetary fine, penalty, reimbursement, restitution, or damages of $5,000 or
                      more;
                  (3) An administrative proceeding, as defined in paragraph 5 of this award term and
                      condition, that resulted in a finding of fault and liability and your payment of
                      either a monetary fine or penalty of $5,000 or more or reimbursement,
                      restitution, or damages in excess of $100,000; or
                  (4) Any other criminal, civil, or administrative proceeding if:
                          (i) It could have led to an outcome described in paragraph 2.c.(1), (2), or
                              (3) of this award term and condition;
                          (ii) It had a different disposition arrived at by consent or compromise with an
                               acknowledgement of fault on your part; and
                          (iii) The requirement in this award term and condition to disclose information
                                about the proceeding does not conflict with applicable laws and
                                regulations.

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 3. Reporting Procedures
      Enter in the SAM Entity Management area the information that SAM requires about each
 proceeding described in section 2 of this award term and condition. You do not need to submit
 the information a second time under assistance awards that you received if you already provided
 the information through SAM because you were required to do so under federal procurement
 contracts that you were awarded.

 4. Reporting Frequency
       During any period of time when you are subject to this requirement in section 1 of this award
 term and condition, you must report proceedings information through SAM for the most recent
 five year period, either to report new information about any proceeding(s) that you have not
 reported previously or affirm that there is no new information to report. Recipients that have
 federal contract, grant, and cooperative agreement awards with a cumulative total value greater
 than $10,000,000 must disclose semiannually any information about the criminal, civil, and
 administrative proceedings.
 5. Definitions
    For purposes of this award term and condition:
   a. Administrative proceeding means a non-judicial process that is adjudicatory in nature in order
      to make a determination of fault or liability (e.g., Securities and Exchange Commission
      Administrative proceedings, Civilian Board of Contract Appeals proceedings, and Armed
      Services Board of Contract Appeals proceedings). This includes proceedings at the federal
      and state level but only in connection with performance of a federal contract or grant. It does
      not include audits, site visits, corrective plans, or inspection of deliverables.
   b. Conviction, for purposes of this award term and condition, means a judgment or conviction
      of a criminal offense by any court of competent jurisdiction, whether entered upon a verdict
      or a plea, and includes a conviction entered upon a plea of nolo contendere.
   c. Total value of currently active grants, cooperative agreements, and procurement
      contracts includes—
            (1) Only the federal share of the funding under any federal award with a recipient cost
                share or match;
            (2) The value of all expected funding increments under a federal award and options,
                even if not yet exercised.




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GENERAL REQUIREMENTS
You must administer your project in compliance with federal civil rights laws that prohibit discrimination
on the basis of race, color, national origin, disability, age and, in some circumstances, religion,
conscience, and sex (including gender identity, sexual orientation, and pregnancy). This includes taking
reasonable steps to provide meaningful access to persons with limited English proficiency and
providing programs that are accessible to and usable by persons with disabilities. The HHS Office for
Civil Rights provides guidance on complying with civil rights laws enforced by HHS. See
https://www.hhs.gov/civil-rights/for-providers/provider-obligations/index.html and
https://www.hhs.gov/civil-rights/for-individuals/nondiscrimination/index.html.
    • You must take reasonable steps to ensure that your project provides meaningful access to
        persons with limited English proficiency. For guidance on meeting your legal obligation to take
        reasonable steps to ensure meaningful access to your programs or activities by limited English
        proficient individuals, see https://www.hhs.gov/civil-rights/for-individuals/special-topics/limited-
        english-proficiency/fact-sheet-guidance/index.html and https://www.lep.gov/.
   •     For information on your specific legal obligations for serving qualified individuals with
         disabilities, including providing program access, reasonable modifications, and taking
         appropriate steps to provide effective communication, see
         http://www.hhs.gov/ocr/civilrights/understanding/disability/index.html.
   •     HHS funded health and education programs must be administered in an environment free of
         sexual harassment, see https://www.hhs.gov/civil-rights/for-individuals/sex-
         discrimination/index.html.
   •     For guidance on administering your project in compliance with applicable federal religious
         nondiscrimination laws and applicable federal conscience protection and associated anti-
         discrimination laws, see https://www.hhs.gov/conscience/conscience-protections/index.html and
         https://www.hhs.gov/conscience/religious-freedom/index.html.
Termination (45 CFR Part 75.372) applies to this award and states, in part, the following:
       (a) This award may be terminated in whole or in part:

       (1) By the HHS awarding agency or pass-through entity, if a non-Federal entity fails to comply with
       the terms and conditions of a Federal award;

       (2) By the HHS awarding agency or pass-through entity for cause;

       (3) By the HHS awarding agency or pass-through entity with the consent of the non-Federal entity,
       in which case the two parties must agree upon the termination conditions, including the effective
       date and, in the case of partial termination, the portion to be terminated;

       (4) By the non-Federal entity upon sending to the HHS awarding agency or pass-through entity
       written notification setting forth the reasons for such termination, the effective date, and, in the
       case of partial termination, the portion to be terminated. However, if the Federal awarding agency
       or pass-through entity determines in the case of partial termination that the reduced or modified
       portion of the Federal award or subaward will not accomplish the purposes for which the Federal
       award was made, the HHS awarding agency or pass-through entity may terminate the Federal
       award in its entirety.

Travel Cost: In accordance with HHS Grants Policy Statement, travel costs are allowable when

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the travel will provide a direct benefit to the project or program. To prevent disallowance of cost,
the recipient is responsible for ensuring travel costs are clearly stated in their budget narrative
and are applied in accordance with their organization's established travel policies and procedures.
The recipient’s established travel policies and procedures must also meet the requirements of 45
CFR Part 75.474.

Food and Meals: Costs associated with food or meals are allowable when consistent with
applicable federal regulations and HHS policies. See
https://www.hhs.gov/grants/contracts/contract-policies-regulations/spending-on-food/index.html.
In addition, costs must be clearly stated in the budget narrative and be consistent with
organization approved policies. Recipients must make a determination of reasonableness and
organization approved policies must meet the requirements of 45 CFR Part 75.432.

Prior Approval: All requests which require prior approval, must bear the signature (or electronic
authorization) of the authorized organization representative. The recipient must submit these
requests no later than 120 days prior to the budget period’s end date. Additionally, any requests
involving funding issues must include an itemized budget and a narrative justification of the
request.

The following types of requests are examples of actions that require prior approval, unless an
expanded authority, or conversely a high risk condition, is explicitly indicated in the NOA.

      •   Use of unobligated funds from prior budget period (Carryover)
      •   Lift funding restriction
      •   Significant redirection of funds (i.e., cumulative changes of 25% of total award)
      •   Change in scope
      •   Implement a new activity or enter into a sub-award that is not specified in the approved
          budget
      •   Apply for supplemental funds
      •   Extensions to period of performance

Templates for prior approval requests can be found at:
https://www.cdc.gov/grants/already-have-grant/PriorApprovalRequests.html.

Additional information on the electronic grants administration system CDC non-research awards
utilize, Grants Solutions, can be found at: https://www.cdc.gov/grants/grantsolutions/index.html.

Key Personnel: In accordance with 45 CFR Part 75.308, CDC recipients must obtain prior approval
from CDC for (1) change in the project director/principal investigator, authorized organizational
representative, business official, financial director, or other key persons specified in the NOFO,
application or award document; and (2) the disengagement from the project for more than three
months, or a 25 percent reduction in time devoted to the project, by the approved project director or
principal investigator.

Inventions: Acceptance of grant funds obligates recipients to comply with the standard patent

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rights clause in 37 CFR Part 401.14.

Acknowledgment of Federal Funding: When issuing statements, press releases, publications,
requests for proposal, bid solicitations and other documents --such as tool-kits, resource guides,
websites, and presentations (hereafter “statements”)--describing the projects or programs funded in
whole or in part with U.S. Department of Health and Human Services (HHS) federal funds, the
recipient must clearly state:
         1. the percentage and dollar amount of the total costs of the program or project funded
            with federal money; and,
         2. the percentage and dollar amount of the total costs of the project or program funded
            by non-governmental sources.

When issuing statements resulting from activities supported by HHS financial assistance, the
recipient entity must include an acknowledgement of federal assistance using one of the following
or a similar statement.

If the HHS Grant or Cooperative Agreement is NOT funded with other non-governmental sources:
         This [project/publication/program/website, etc.] [is/was] supported by the Centers for
         Disease Control and Prevention of the U.S. Department of Health and Human Services
         (HHS) as part of a financial assistance award totaling $XX with 100 percent funded by
         CDC/HHS. The contents are those of the author(s) and do not necessarily represent the
         official views of, nor an endorsement, by CDC/HHS, or the U.S. Government.

If the HHS Grant or Cooperative Agreement IS partially funded with other non-governmental
sources:
         This [project/publication/program/website, etc.] [is/was] supported by the Centers for
         Disease Control and Prevention of the U.S. Department of Health and Human Services
         (HHS) as part of a financial assistance award totaling $XX with XX percentage funded by
         CDC/HHS and $XX amount and XX percentage funded by non- government source(s). The
         contents are those of the author(s) and do not necessarily represent the official views of,
         nor an endorsement, by CDC/HHS, or the U.S. Government.

The federal award total must reflect total costs (direct and indirect) for all authorized funds
(including supplements and carryover) for the total competitive segment up to the time of the
public statement.

Any amendments by the recipient to the acknowledgement statement must be coordinated with
the HHS Awarding Agency.

If the recipient plans to issue a press release concerning the outcome of activities supported by
HHS financial assistance, it should notify the HHS Awarding Agency in advance to allow for
coordination.

Copyright Interests Provision: This provision is intended to ensure that the public has access to
the results and accomplishments of public health activities funded by CDC. Pursuant to applicable
grant regulations and CDC’s Public Access Policy, Recipient agrees to submit into the National

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Institutes of Health (NIH) Manuscript Submission (NIHMS) system an electronic version of the final,
peer-reviewed manuscript of any such work developed under this award upon acceptance for
publication, to be made publicly available no later than 12 months after the official date of
publication. Also, at the time of submission, Recipient and/or the Recipient’s submitting author
must specify the date the final manuscript will be publicly accessible through PubMed Central
(PMC). Recipient and/or Recipient’s submitting author must also post the manuscript through PMC
within twelve (12) months of the publisher's official date of final publication; however, the author is
strongly encouraged to make the subject manuscript available as soon as possible. The recipient
must obtain prior approval from the CDC for any exception to this provision.

The author's final, peer-reviewed manuscript is defined as the final version accepted for journal
publication and includes all modifications from the publishing peer review process, and all graphics
and supplemental material associated with the article. Recipient and its submitting authors working
under this award are responsible for ensuring that any publishing or copyright agreements
concerning submitted article reserve adequate right to fully comply with this provision and the
license reserved by CDC. The manuscript will be hosted in both PMC and the CDC Stacks
institutional repository system. In progress reports for this award, recipient must identify publications
subject to the CDC Public Access Policy by using the applicable NIHMS identification number for up
to three (3) months after the publication date and the PubMed Central identification number
(PMCID) thereafter.

Disclaimer for Conference/Meeting/Seminar Materials: If a conference/meeting/seminar is
funded by a grant, cooperative agreement, sub-grant and/or a contract, the recipient must include
the following statement on conference materials, including promotional materials, agenda, and
internet sites:

          Funding for this conference was made possible (in part) by the Centers for Disease
          Control and Prevention. The views expressed in written conference materials or
          publications and by speakers and moderators do not necessarily reflect the official
          policies of the Department of Health and Human Services, nor does the mention of trade
          names, commercial practices, or organizations imply endorsement by the U.S.
          Government.

Logo Use for Conference and Other Materials: Neither the Department of Health and Human
Services (HHS) nor the CDC logo may be displayed if such display would cause confusion as to the
funding source or give false appearance of Government endorsement. Use of the HHS name or
logo is governed by U.S.C. Part 1320b-10, which prohibits misuse of the HHS name and emblem in
written communication. A non-federal entity is not authorized to use the HHS name or logo
governed by U.S.C. Part 1320b-10. The appropriate use of the HHS logo is subject to review and
approval of the HHS Office of the Assistant Secretary for Public Affairs (OASPA). Moreover, the
HHS Office of the Inspector General has authority to impose civil monetary penalties for violations
(42 CFR Part 1003).

Additionally, the CDC logo cannot be used by the recipient without the express, written consent of
CDC. The Program Official/Project Officer identified in the NOA can assist with facilitating such a
request. It is the responsibility of the recipient to request consent for use of the logo in sufficient
detail to ensure a complete depiction and disclosure of all uses of the Government logos. In all

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cases for utilization of Government logos, the recipient must ensure written consent is received.
Further, the HHS and CDC logo cannot be used by the recipient without a license agreement
setting forth the terms and conditions of use.

Equipment and Products: To the greatest extent practical, all equipment and products purchased
with CDC funds should be American-made. CDC defines equipment as tangible non- expendable
personal property (including exempt property) charged directly to an award having a useful life of
more than one year AND an acquisition cost of $5,000 or more per unit. However, consistent with
recipient policy, a lower threshold may be established. Please provide the information to the
Grants Management Officer to establish a lower equipment threshold to reflect your organization's
policy.

The recipient may use its own property management standards and procedures, provided it
observes provisions in applicable grant regulations found at 45 CFR Part 75.

Federal Information Security Management Act (FISMA): All information systems, electronic or
hard copy, that contain federal data must be protected from unauthorized access. This standard
also applies to information associated with CDC grants. Congress and the OMB have instituted
laws, policies and directives that govern the creation and implementation of federal information
security practices that pertain specifically to grants and contracts. The current regulations are
pursuant to the Federal Information Security Management Act (FISMA), Title III of the E-
Government Act of 2002, PL 107-347.

FISMA applies to CDC recipients only when recipients collect, store, process, transmit or use
information on behalf of HHS or any of its component organizations. In all other cases, FISMA is
not applicable to recipients of grants, including cooperative agreements. Under FISMA, the
recipient retains the original data and intellectual property, and is responsible for the security of
these data, subject to all applicable laws protecting security, privacy, and research. If/When
information collected by a recipient is provided to HHS, responsibility for the protection of the HHS
copy of the information is transferred to HHS and it becomes the agency’s responsibility to protect
that information and any derivative copies as required by FISMA. For the full text of the
requirements under Federal Information Security Management Act (FISMA), Title III of the E-
Government Act of 2002 Pub. L. No. 107-347, please review the following website:
https://www.govinfo.gov/content/pkg/PLAW-107publ347/pdf/PLAW-107publ347.pdf.

Pilot Program for Enhancement of Contractor Employee Whistleblower Protections:
Recipients are hereby given notice that the 48 CFR section 3.908, implementing section 828,
entitled “Pilot Program for Enhancement of Contractor Employee Whistleblower Protections,” of
the National Defense Authorization Act (NDAA) for Fiscal Year (FY) 2013 (Pub. L. 112- 239,
enacted January 2, 2013), applies to this award.

Federal Acquisition Regulations
As promulgated in the Federal Register, the relevant portions of 48 CFR section 3.908 read as
follows (note that use of the term “contract,” “contractor,” “subcontract,” or “subcontractor” for the
purpose of this term and condition, should be read as “grant,” “recipient,” “subgrant,” or
“subrecipient”):



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3.908 Pilot program for enhancement of contractor employee whistleblower protections.

3.908-1 Scope of section.

  (a) This section implements 41 U.S.C. 4712.
  (b) This section does not apply to-
          (1) DoD, NASA, and the Coast Guard; or
          (2) Any element of the intelligence community, as defined in section 3(4) of the National
              Security Act of 1947 (50 U.S.C. 3003(4)). This section does not apply to any
              disclosure made by an employee of a contractor or subcontractor of an element of the
              intelligence community if such disclosure-
                  (i) Relates to an activity of an element of the intelligence community; or
                  (ii) Was discovered during contract or subcontract services provided to an element
                       of the intelligence community.
3.908-2 Definitions.
As used in this section-
“Abuse of authority” means an arbitrary and capricious exercise of authority that is inconsistent with the
mission of the executive agency concerned or the successful performance of a contract of such
agency.

“Inspector General” means an Inspector General appointed under the Inspector General Act of 1978
and any Inspector General that receives funding from, or has oversight over contracts awarded for, or
on behalf of, the executive agency concerned.

3.908-3 Policy.
  (a) Contractors and subcontractors are prohibited from discharging, demoting, or otherwise
      discriminating against an employee as a reprisal for disclosing, to any of the entities listed at
      paragraph (b) of this subsection, information that the employee reasonably believes is
      evidence of gross mismanagement of a federal contract, a gross waste of federal funds, an
      abuse of authority relating to a federal contract, a substantial and specific danger to public
      health or safety, or a violation of law, rule, or regulation related to a federal contract (including
      the competition for or negotiation of a contract). A reprisal is prohibited even if it is undertaken
      at the request of an executive branch official, unless the request takes the form of a non-
      discretionary directive and is within the authority of the executive branch official making the
      request.
  (b) Entities to whom disclosure may be made.
          (1) A Member of Congress or a representative of a committee of Congress.
          (2) An Inspector General.
          (3) The Government Accountability Office.
          (4) A federal employee responsible for contract oversight or management at the
              relevant agency.
          (5) An authorized official of the Department of Justice or other law enforcement agency.
          (6) A court or grand jury.

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          (7) A management official or other employee of the contractor or subcontractor who has
              the responsibility to investigate, discover, or address misconduct.
  (c) An employee who initiates or provides evidence of contractor or subcontractor misconduct in
      any judicial or administrative proceeding relating to waste, fraud, or abuse on a federal
      contract shall be deemed to have made a disclosure.

3.908-9 Contract clause.
  Contractor Employee Whistleblower Rights and Requirement to Inform Employees of
  Whistleblower Rights (Sept. 2013)
  (a) This contract and employees working on this contract will be subject to the whistleblower
      rights and remedies in the pilot program on Contractor employee whistleblower protections
      established at 41 U.S.C. 4712 by section 828 of the National Defense Authorization Act for
      Fiscal Year 2013 (Pub. L. 112-239) and FAR 3.908.
  (b) The Contractor shall inform its employees in writing, in the predominant language of the
      workforce, of employee whistleblower rights and protections under 41 U.S.C. 4712, as
      described in section 3.908 of the Federal Acquisition Regulation.
  (c) The Contractor shall insert the substance of this clause, including this paragraph (c), in all
      subcontracts over the simplified acquisition threshold.


PAYMENT INFORMATION
Fraud Waste or Abuse: The HHS Office of the Inspector General (OIG) maintains a toll-free
number (1-800-HHS-TIPS [1-800-447-8477]) for receiving information concerning fraud, waste, or
abuse under grants and cooperative agreements. Information also may be submitted by e-mail to
hhstips@oig.hhs.gov or by mail to Office of the Inspector General, Department of Health and
Human Services, Attn: HOTLINE, 330 Independence Ave., SW, Washington DC 20201. Such
reports are treated as sensitive material and submitters may decline to give their names if they
choose to remain anonymous.

Automatic Drawdown (Direct/Advance Payments): Payments under CDC awards will be made
available through the Department of Health and Human Services (HHS) Payment Management
System (PMS), under automatic drawdown, unless specified otherwise in the NOA. Recipients must
comply with requirements imposed by the PMS on-line system. Questions concerning award
payments or audit inquiries should be directed to the payment management services office.

PMS Website: https://pms.psc.gov/ PMS
Phone Support: +1(877)614-5533
PMS Email Support: PMSSupport@psc.gov

Payment Management System Subaccount: Funds awarded in support of approved activities
will be obligated in an established subaccount in the PMS. Funds must be used in support of
approved activities in the NOFO and the approved application. All award funds must be tracked
and reported separately.

Exchange Rate: All requests for funds contained in the budget, shall be stated in U.S. dollars.

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Once an award is made, CDC will generally not compensate foreign recipients for currency
exchange fluctuations through the issuance of supplemental awards.

Acceptance of the Terms of an Award: By drawing or otherwise obtaining funds from PMS, the
recipient acknowledges acceptance of the terms and conditions of the award and is obligated to
perform in accordance with the requirements of the award. If the recipient cannot accept the terms,
the recipient should notify the Grants Management Officer within thirty (30) days of receipt of the
NOA.

Certification Statement: By drawing down funds, the recipient certifies that proper financial
management controls and accounting systems, to include personnel policies and procedures,
have been established to adequately administer federal awards and funds drawn down.
Recipients must comply with all terms and conditions in the NOFO, outlined in their NOA,
grant policy terms and conditions contained in applicable HHS Grant Policy Statements, and
requirements imposed by program statutes and regulations and HHS grants administration
regulations, as applicable; as well as any regulations or limitations in any applicable
appropriations acts.

CLOSEOUT REQUIREMENTS
Recipients must submit all closeout reports identified in this section within 90 days of the period of
performance end date. The reporting timeframe is the full period of performance. If the recipient does
not submit all reports in accordance with this section and the terms and conditions of the Federal
Award, CDC may proceed to close out with the information available within one year of the period of
performance end date unless otherwise directed by authorizing statutes. Failure to submit timely and
accurate final reports may affect future funding to the organization or awards under the direction of
the same Project Director/Principal Investigator (PD/PI).

Final Performance Progress and Evaluation Report (PPER): This report should include the
information specified in the NOFO and is submitted upon solicitation from the GMS/GMO via
www.grantsolutions.gov. At a minimum, the report will include the following:
           •    Statement of progress made toward the achievement of originally stated aims;
           •    Description of results (positive or negative) considered significant; and
           •    List of publications resulting from the project, with plans, if any, for further publication.

All manuscripts published as a result of the work supported in part or whole by the grant must be
submitted with the performance progress reports.

Final Federal Financial Report (FFR, SF-425): The FFR should only include those funds
authorized and expended during the timeframe covered by the report. The Final FFR, SF-425 is
required and must be submitted no later than 90 days after the period of performance end date
through recipient online accounts in the Payment Management System. The final FFR will
consolidate data reporting responsibilities to one entry point within PMS which will assist with the
reconciliation of expenditures and disbursements to support the timely close-out of grants.

The final FFR must indicate the exact balance of unobligated funds and may not reflect any
unliquidated obligations. Remaining unobligated funds will be de-obligated and returned
to the U.S. Treasury.

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Every recipient should already have a PMS account to allow access to complete the SF-425.

Additional guidance on submission of Federal Financial Reports can be found at
https://www.cdc.gov/grants/documents/change-in-federal-reporting-fy-2021-recipients.pdf.

Equipment and Supplies - Tangible Personal Property Report (SF-428): A completed Tangible
Personal Property Report SF-428 and Final Report SF-428B addendum must be submitted, along
with any Supplemental Sheet SF-428S detailing all major equipment acquired or furnished under
this project with a unit acquisition cost of $5,000 or more. Electronic versions of the forms can be
downloaded by visiting: https://www.grants.gov/web/grants/forms/post-award- reporting-
forms.html#sortby=1.

If no equipment was acquired under an award, a negative report is required. The recipient must
identify each item of equipment that it wishes to retain for continued use in accordance with 45
CFR Part 75. The awarding agency may exercise its rights to require the transfer of equipment
purchased under the assistance award. CDC will notify the recipient if transfer to title will be
required and provide disposition instruction on all major equipment.

Equipment with a unit acquisition cost of less than $5,000 that is no longer to be used in projects or
programs currently or previously sponsored by the federal government may be retained, sold, or
otherwise disposed of, with no further obligation to the federal government.

CDC STAFF RESPONSIBILITIES
Roles and Responsibilities: Grants Management Specialists/Officers (GMO/GMS) and
Program Officials (PO) work together to award and manage CDC grants and cooperative
agreements. From the pre-planning stage to closeout of an award, grants management and
program staff have specific roles and responsibilities for each phase of the grant cycle. Award
specific terms and conditions will include contact information for the PO/GMO/GMS.

Program Official: The PO is the federal official responsible for monitoring the programmatic,
scientific, and/or technical aspects of grants and cooperative agreements including:
      •   The development of programs and NOFOs to meet the CDC’s mission;
      •   Providing technical assistance to applicants in developing their applications, e.g.,
          explanation of programmatic requirements, regulations, evaluation criteria, and guidance
          to applicants on possible linkages with other resources;
      •   Providing technical assistance to recipients in the performance of their project; and
      •   Post-award monitoring of recipient performance such as review of progress reports,
          review of prior approval requests, conducting site visits, and other activities
          complementary to those of the GMO/GMS.

For Cooperative Agreements, substantial involvement is required from CDC. The PO is the federal
official responsible for the collaboration or participation in carrying out the effort under the award.
Substantial involvement will be detailed in the NOFO and award specific terms and conditions and
may include, but is not limited to:


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      •   Review and approval of one stage of work before work can begin on a subsequent stage;
      •   Review and approval of substantive programmatic provisions of proposed subawards
          or contracts (beyond existing federal review of procurement or sole source policies);
      •   Involvement in the selection of key relevant personnel;
      •   CDC and recipient collaboration or joint participation; and
      •   Implementing highly prescriptive requirements prior to award limiting recipient discretion
          with respect to scope of services, organizational structure, staffing, mode of operation,
          and other management processes.

Grants Management Officer: The GMO is the only official authorized to obligate federal funds
and is responsible for signing the NOA, including revisions to the NOA that change the terms and
conditions. The GMO serves as the counterpart to the business officer of the recipient
organization. The GMO is the federal official responsible for the business and other non-
programmatic aspects of grant awards including:
      •   Determining the appropriate award instrument, i.e., grant or cooperative agreement;
      •   Determining if an application meets the requirements of the NOFO;
      •   Ensuring objective reviews are conducted in an above-the-board manner and according to
          guidelines set forth in grants policy;
      •   Ensuring recipient compliance with applicable laws, regulations, and policies;
      •   Negotiating awards, including budgets;
      •   Responding to recipient inquiries regarding the business and administrative aspects of an
          award;
      •   Providing recipients with guidance on the closeout process and administering the closeout
          of grants;
      •   Receiving and processing reports and prior approval requests such as changes in funding,
          budget redirection, or changes to the terms and conditions of an award; and
      •   Maintaining the official grant file and program book.

Grants Management Specialist: The GMS is the federal staff member responsible for the day-
to-day management of grants and cooperative agreements. The GMS is the primary contact of
recipients for business and administrative matters pertinent to grant awards. Many of the
functions described in the GMO section are performed by the GMS, on behalf of the GMO.




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  submitted, along with any Supplemental Sheet SF-428S detailing all major equipment acquired
  or furnished under this project with a unit acquisition cost of $5,000 or more. Electronic
  versions of the forms can be downloaded by visiting:
  https://www.grants.gov/web/grants/forms/post-award-reporting-forms.html#sortby=1

  If no equipment was acquired under an award, a negative report is required.

  The recipient must identify each item of equipment that it wishes to retain for continued use in
  accordance with 45 CFR Part 75. The awarding agency may exercise its rights to require the
  transfer of equipment purchased under the assistance award. CDC will notify the recipient if
  transfer to title will be required and provide disposition instruction on all major equipment.

  Equipment with a unit acquisition cost of less than $5,000 that is no longer to be used in
  projects or programs currently or previously sponsored by the Federal Government may be
  retained, sold, or otherwise disposed of, with no further obligation to the Federal Government.
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  TERMS AND CONDITIONS OF AWARD



  Termination: The purpose of this amendment is to terminate this award which is funded by COVID-19
  supplemental appropriations. The termination of this award is for cause. HHS regulations permit
  termination if “the non-Federal entity fails to comply with the terms and conditions of the award”, or
  separately, “for cause.” The end of the pandemic provides cause to terminate COVID-related grants and
  cooperative agreements. These grants and cooperative agreements were issued for a limited purpose: to
  ameliorate the effects of the pandemic. Now that the pandemic is over, the grants and cooperative
  agreements are no longer necessary as their limited purpose has run out. Termination of this award is
  effective as of the date set out in your Notice of Award.

  No additional activities can be conducted, and no additional costs may be incurred. Unobligated award
  balances will be de-obligated by CDC.

  Closeout: In order to facilitate an orderly closeout, we are requesting that you submit all closeout
  reports identified below within thirty (30) days of the date of this NoA. Submit the documentation as a
  “Grant Closeout” amendment in GrantSolutions. The reporting timeframe is the full period of
  performance. Please note, if you fail to submit timely and accurate reports, CDC may also pursue other
  enforcement actions per 45 CFR Part 75.371.

  Final Performance/Progress Report: This report should include the information specified in the Notice
  of Funding Opportunity (NOFO). At a minimum, the report will include the following:

          • Statement of progress made toward the achievement of originally stated aims.
          • Description of results (positive or negative) considered significant.
          • List of publications resulting from the project, with plans, if any, for further publication.

  Final Federal Financial Report (FFR, SF-425): The FFR should only include those funds authorized and
  expended during the timeframe covered by the report. The final report must indicate the exact balance
  of unobligated funds and may not reflect any unliquidated obligations. Should the amount not match
  with the final expenditures reported to the Payment Management System (PMS), you will be required to
  update your reports to PMS accordingly.

  Equipment and Supplies - Tangible Personal Property Report (SF-428): A completed SF-428 detailing all
  major equipment acquired with a unit acquisition cost of $10,000 or more. If no equipment was
  acquired under the award, a negative report is required
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California Department of Public Health
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  AWARD INFORMATION

 Incorporation: In addition to the federal laws, regulations, policies, and CDC General Terms and
 Conditions for Non-research awards at
 https://www.cdc.gov/grants/federalregulationspolicies/index.html, the Centers for Disease Control
 and Prevention (CDC) hereby incorporates Notice of Funding Opportunity (NOFO) number IP19-
 1901, entitled, Immunization and Vaccines for Children, which are hereby made a part of this
 Non-research award, hereinafter referred to as the Notice of Award (NoA).


  Supplemental Component Funding: Additional funding in the amount $357,026,635 is
  approved for the Year 02 budget period, which is July 1, 2020 through June 30, 2021.

  The NOFO provides for the funding of multiple components under this award. The approved
  component funding levels for this notice of award are:

   NOFO Component                                                         Amount

   COVID-19                                                               $357,026,635



  Recipients have until June 30, 2024 to expend all COVID-19 funds herein and previously
  funded.

  Overtime: Because overtime costs are a very likely and reasonable expense during the
  response to COVID-19, CDC will allow recipients to include projected overtime in their
  budgets. Recipients should be careful to estimate costs based on current real-time needs and
  will still be required to follow federal rules and regulations in accounting for the employees’
  time and effort.

  Coronavirus Disease 2019 (COVID-19) Funds: A recipient of a grant or cooperative
  agreement awarded by the Department of Health and Human Services (HHS) with funds made
  available under the Coronavirus Preparedness and Response Supplemental Appropriations Act,
  2020 (P.L. 116-123); the Coronavirus Aid, Relief, and Economic Security Act, 2020 (the “CARES
  Act”) (P.L. 116-136); the Paycheck Protection Program and Health Care Enhancement Act (P.L.
  116-139); and/or the Consolidated Appropriations Act, 2021, Division M – Coronavirus
  Response and Relief Supplemental Appropriations Act, 2021 (P.L. 116-266), agrees, as
  applicable to the award, to: 1) comply with existing and/or future directives and guidance from
  the Secretary regarding control of the spread of COVID-19; 2) in consultation and coordination
  with HHS, provide, commensurate with the condition of the individual, COVID-19 patient care
  regardless of the individual’s home jurisdiction and/or appropriate public health measures (e.g.,
  social distancing, home isolation); and 3) assist the United States Government in the
  implementation and enforcement of federal orders related to quarantine and isolation.

  In addition, to the extent applicable, Recipient will comply with Section 18115 of the CARES Act,
  with respect to the reporting to the HHS Secretary of results of tests intended to detect SARS–
  CoV–2 or to diagnose a possible case of COVID–19. Such reporting shall be in accordance with
  guidance and direction from HHS and/or CDC. HHS laboratory reporting guidance is posted at:
  https://www.hhs.gov/sites/default/files/covid-19-laboratory-data-reporting-guidance.pdf.

  Further, consistent with the full scope of applicable grant regulations (45 C.F.R. 75.322), the
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  the HHS OIG at the following addresses:

  CDC, Office of Grants Services




              @cdc.gov (Include “Mandatory Grant Disclosures” in subject line)

  AND

  U.S. Department of Health and Human Services
  Office of the Inspector General




                                           @oig.hhs.gov

  Recipients must include this mandatory disclosure requirement in all subawards and
  contracts under this award.
  Failure to make required disclosures can result in any of the remedies described in 45 CFR
  75.371. Remedies for noncompliance, including suspension or debarment (See 2 CFR parts
  180 and 376, and 31 U.S.C. 3321).

  CDC is required to report any termination of a federal award prior to the end of the period of
  performance due to material failure to comply with the terms and conditions of this award in
  the OMB-designated integrity and performance system accessible through SAM (currently
  FAPIIS). (45 CFR 75.372(b)) CDC must also notify the recipient if the federal award is
  terminated for failure to comply with the federal statutes, regulations, or terms and conditions
  of the federal award. (45 CFR 75.373(b))

   PAYMENT INFORMATION


  The HHS Office of the Inspector General (OIG) maintains a toll-free number (1-800-HHS-TIPS
  [1- 800-447-8477]) for receiving information concerning fraud, waste, or abuse under grants
  and cooperative agreements. Information also may be submitted by e-mail to
  hhstips@oig.hhs.gov or by mail to Office of the Inspector General, Department of Health and
  Human Services, Attn: HOTLINE, 330 Independence Ave., SW, Washington DC 20201. Such
  reports are treated as sensitive material and submitters may decline to give their names if they
  choose to remain anonymous.

  Payment Management System Subaccount: Funds awarded in support of approved
  activities have been obligated in a subaccount in the PMS, herein identified as the “P
  Account”. Funds must be used in support of approved activities in the NOFO and the
  approved application.

  The grant document number identified on the bottom of Page 1 of the Notice of Award must
  be known in order to draw down funds.
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  Stewardship: The recipient must exercise proper stewardship over Federal funds by
  ensuring that all costs charged to your cooperative agreement are allowable, allocable,
  and reasonable and that they address the highest priority needs as they relate to this
  program.

  All the other terms and conditions issued with the original award remain in effect
  throughout the budget period unless otherwise changed, in writing, by the Grants
  Management Officer.
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  Submission Requirements:

  1. Complete a Workplan and Spend Plan by March 31, 2021 and submit to CDPH at:
               @cdph.ca.gov. See Attachments 1 and 2. Your Agency should consider the
     following when developing your Workplan and Spend Plan:

      •   It is recommended that your Agency fund an administrative position to ensure
          fiscal accountability and reporting requirements of the various ELC funds.

      •   Your Agency must work in coordination with tribal governments, community-
          based organizations, and faith-based organizations, particularly those with
          experience with high-risk populations based upon county COVID-19
          surveillance data. There is no explicit cap or percentage that must go to these
          partners; however, you must reach out to them and enlist their help where it
          makes sense (i.e. outreach, testing strategy, education, or housing, etc.).

      •   Your Agency is encouraged to recruit and give hiring preference to
          unemployed workers, underemployed workers, and applicants from local
          communities disproportionately affected by COVID-19, who are qualified to
          perform the work. In addition, you are encouraged to work with applicants
          from your community when executing contracts and other services.

      •   Your Agency’s Equity Targeted Investment Plan is on a tab embedded within
          your workplan labeled “Health Equity”. These plans are used to reflect equity
          activities across all ELC strategies. Please see Attachment 6 for additional
          information and instructions for completing this portion of your workplan. Please
          also include in the packet your vaccine equity plan (due to CDPH earlier in
          March) which should describe the network equity capacity that currently exists
          in your jurisdiction; as well as potential and future potential to administer
          vaccines in the jurisdiction’s Health Equity Quartile zip codes. The vaccine
          equity plan should also include the locations and populations being served, a
          description of the jurisdiction’s strategies/activities/educational approaches
          with community partners to reflect strategies/activities/educational
          approaches; as well as identification of other support needs to reach
          disproportionately impacted populations in the Health Equity Quartile zip
          codes.

      •   CDC guidance allows ELC Enhancing Detection Expansion funding to be used
          for expenses that compliment other CDC vaccine delivery efforts, such as staff,
          contractors, call centers, storage, and other infrastructure needs. Your Agency
          should prioritize vaccine specific funding and then determine how best to
          incorporate vaccine-related activities with this funding through your workplan.
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  1. First Quarter Payment: CDPH will issue a warrant (check) to your Agency for 25% of
     your total allocation, this will be issued as an advance payment.

  2. Future payments will be based on reimbursement of expenditures once the 25%
     advance payment has been fully expended. In order to receive future payments,
     your Agency must complete and submit reporting documentation within
     Attachments 1 and 2 following the due dates above within Reporting Requirements.

  3. Your Agency must maintain supporting documentation for any expenditures
     invoiced to CDPH against this source of funding. Documentation should be readily
     available in the event of an audit or upon request from CDPH. Documentation
     should be maintained onsite for five years.

 Thank you for the time your Agency has and will continue to invest in this response. We
 are hopeful that this additional funding can support the needs of your local health
 jurisdiction and that it provides adequate resources for your participation in ELC
 Enhancing Detection Expansion activities. CDPH is hosting a webinar on Friday, March 5th
 at 1:30pm to go over the requirements and activities of this funding. If you have any
 questions or need further clarification, please reach out to CDPHELC@cdph.ca.gov.

 Sincerely,




 Emergency Preparedness Office
 California Department of Public Health

 Attachments

 Attachment 1: Workplan and Progress Report
 Attachment 2: Spend Plan and Expenditure Report
 Attachment 3: Invoice Template
 Attachment 4: ELC Enhancing Detection Guidelines
 Attachment 5: Local Allocations
 Attachment 6: Equity Targeted Investment Plan Instructions
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